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Linda Myhre Enlow
Thurston County Clerk

IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON

COUNTY OF THURSTON
EDDIE LEE LEMMON, individually and on PL ne a
behalf of all others similarly situated, NO. 12-007 $03 4
Plaintiff, COMPLAINT FOR DECLARATORY AND

9 INJUNCTIVE RELIEF

PIERCE COUNTY, a Washington municipality,

Defendant.

 

 

I. INTRODUCTION
1. Pierce County has a policy, practice, and custom of automatically imposing
additional fines and fees when referring court debt to private collection agencies. This conduct
violates the constitutional rights of those who owe legal financial obligations (LFOs), especially

those who are too poor to pay.

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2. The district and superior courts of Pierce County impose LFOs as part of
sentencing in misdemeanor and felony cases. County officials—specifically, the Pierce County
Court Clerk and District Court Administrator—are then responsible for collecting the debt.

3. When a person fails to pay their LFOs, the Pierce County clerk or administrator
sends the account to a private collection agency. When Pierce County sends the account, a
collection fee is automatically assessed, which for district court LFOs is approximately 18
percent and for superior court LFOs is 23 percent. This collection fee then becomes part of the
LFOs. Pierce County can also begin charging interest on the LFOs at a rate of 12 percent per
annum on restitution. RCW 3.62.020(5)(a).

4. Pierce County inflicts these punishments administratively and without a
meaningful ability-to-pay hearing or a specific finding that either (a) the nonpayment was willful
because the person refused to pay from available resources or (b) the person was unable to
pay, and alternative methods are inadequate to satisfy a legitimate government interest in
punishment or deterrence.

5. By automatically adding fees and interest when sending accounts to private
collection agencies for missed payments, Pierce County is punishing people for being too poor
to pay.

6. By inflicting punishment in this manner, Pierce County is violating the due
process, equal protection, and excessive fines clauses of the constitutions of the United States
and Washington.

7. Pierce County’s practice of referring overdue debt to collections where
additional fines, fees and interest will accumulate also increases the disproportionate and long-
lasting harm that the criminal system, and by extension the legal financial debt system, has on
Black, Indigenous, and Latinx communities. |

8. LFOs are sums of money ordered by courts that may include restitution,

attorneys’ fees, jail fees, community supervision costs, and “any other financial obligation that

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is assessed to the offender.” See, e.g., RCW 9.94A.030(31). In Washington, a single conviction
can be subject to up to 28 different types of fines, fees, and costs. Alexes Harris et al., Monetary
Sanctions in Washington, Monetary Sanctions in the Criminal Justice System, 201, 202-203
(2017).+

9. LFOs are disproportionately assessed on Black, Latinx, and Indigenous
individuals. Alexes Harris, Symposium, Monetary Sanctions as a Permanent Punishment: LFOs in
Washington State Today in Supreme Court Symposium Legal Financial Obligations (LFOs):
Beyond Defining the Problem; Advancing Solutions, Washington State Minority and Justice
Commission (June 6, 2018).*

10. As a result of racial disparities in policing and enforcement, Black, Latinx, and
Indigenous individuals are disproportionately represented in Washington's criminal legal
system and are thus more likely to incur LFOs. For example, Black individuals make up only 5.6
percent of Pierce County’s population but in 2019, 17.4 percent of arrests and 25 percent of jail
bookings were of Black individuals according to county data. Criminal Justice Review of Policies
& Practices (September 10, 2020).? These disparities are heightened in metro areas such as
Tacoma, where Black individuals were 9.7 percent of the population but accounted for 33.5
percent of arrests in 2019. /d.

11. Accounting for all other factors, Black, Latinx, and Indigenous people in
Washington are sentenced to LFOs more frequently and assessed higher amounts than white
individuals. See Katherine A. Beckett, Alexes M. Harris & Heather Evans, The Assessment and

Consequences of Legal Financial Obligations in Washington State at 30 (Wash. State Minority &

 

1 Available at http://www.monetarysanctions.org/wp-content/uploads/2017/04/Monetary-Sanctions-Legal-
Review-Final.pdf.

? Available at https://www.tvw.org/watch/?eventID=2018061018.

3 Available at
https://www.piercecountywa.gov/DocumentCenter/View/94647/Digital Report Criminal Justice Review Council
Final.

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Justice Comm’n 2008).* On a per capita basis in Washington, white individuals owe $210 in LFOs
per 100,000 persons, whereas Latinx individuals owe $235 and Black individuals owe $650.
Bryan L. Adamson, Debt Bondage: How Private Collection Agencies Keep the Formerly
Incarcerated Tethered to the Criminal Justice System, 15 Nw. J.L. & Soc. Pol’y 305, 319 (2020).

12. Moreover, Black, Latinx, and Indigenous individuals disproportionately struggle
to pay back LFO debt, leaving them to owe more debt for longer periods of time. See Frank
Edwards and Alexes Harris, An Analysis of Court Imposed Monetary Sanctions in Seattle
Municipal Courts, 2000-2017, A Report Prepared For The City of Seattle, Office for Civil Rights,
at 21-22, 26 (July 28, 2020).°

13. This disproportionate inability to pay is rooted in the racial wealth gap built into
the discriminatory structure of American society that sits on a foundation of nearly 250 years of
enslavement and stolen wealth. See generally Thomas Craemer et al., Wealth Implications of
Slavery and Racial Discrimination for African American Descendants of the Enslaved, 47 Rev.
Black Pol. Econ. 218 (2020),

14. The racial and wealth inequities inherent in LFOs only multiply when county
officials, such as in Pierce County, refer LFOs to private debt collection agencies.

15. Pierce County’s policy, practice, and custom of referring overdue LFO accounts
to commercial collection agencies results in the automatic assessment of additional charges—
referred to by the County and collection agency as “statutory court costs” —as well as interest,
both of which become part of the underlying LFOs.

16. The additional charges and interest significantly increase the length of time that
an indigent person will remain subject to the jurisdiction of the superior court. Washington

court data indicate that for felony convictions, even those who make regular payments of $50 a

 

4 Available at https://media.spokesman.com/documents/2009/05/study LFOimpact.pdf.

5 Available at

https://www.seattle.gov/Documents/ Departments/CivilRights/SMC%20Monetary%20Sanctions%20Report%207.2

8.2020%20FINAL.pdf. .

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month toward a typical legal debt will remain in arrears 30 years later, and it will take mnie
than a decade for those who regularly pay $100 a month to eradicate their legal debt, even
assuming no additional monetary sanctions are imposed. Alexes Harris, Heather Evans, and
Katherine Beckett, Drawing Blood from Stones: Legal Debt and Social Inequality in the

Contemporary United States, AJS Volume 115 Number 6 (May 2010): 1753-99, at 1776-77.®

17. In 2014, the average amount of LFOs assessed per felony case was $2,540. Wash.
State Reentry Council, Report of the Statewide Reentry Council, at 8 (Dec. 2018).”? Because most
defendants in Washington’s criminal justice system are indigent and can only afford to pay an |
average of about $30 a month towards their LFO debt, they often remain tied to the court
system for decades. Alexes Harris, A Pound of Flesh: Monetary Sanctions as Punishment for the
Poor 56 (2016). This is due in part to the compounding debt caused by LFOs accruing interest
and extra fees when referred to private collectors.

18. If a defendant misses an LFO payment—including a payment missed due to
homelessness, unemployment, or other extenuating factors—a county official may refer the
debt to a private collection agency thirty days later. RCW 36.18.190. The debt collector may by
statute add a collection fee of up to 50 percent of the first $100,000 in outstanding LFO debt
and 35 percent of anything over $100,000. RCW 19.16.500(1)(b).

19. In Pierce County, the collection fee is approximately 18 percent for district court
LFOs and 23 percent for superior court LFOs.

20. Until at least June 7, 2018, Pierce County assessed interest at a rate of 12
percent per annum on LFOs imposed in criminal proceedings that were referred to collection
agencies. This interest, which started to accrue at the time of referral, was added to the LFOs
and remains on accounts in collections. The County continues to assess interest at a rate of 12

percent per annum on restitution imposed in a criminal proceeding. RCW 3.62.020(5)(a). Pierce

 

§ Available at https://faculty.washington.edu/kbeckett/articles/AJS.pdf.

7 Available at http://www.commerce.wa.gov/wp-content/uploads/2013/01/1-2-2019-CSHD-Commerce-Reentry-
Report-2018.pdf.

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County can also assess interest at a rate of 12 percent per annum on LFOs not imposed ina
criminal proceeding. /d.

21. Lengthening the time it will take a person to pay off LFO debt also lengthens the
time it takes for any lost rights to be restored and extends the collateral consequences
associated with having an active record, including negative consequences in employment;
access to public and private housing (42 U.S.C. § 1437f (d)(1)(B)(v)(II)(2018) (low income
housing assistance}); access to financial assistance (42 U.S.C. § 608(a)(9)(A) (2012) (Temporary
Aid to Needy Families (TANF) benefits), 7 U.S.C. § 2015(k)(1) (2018) (Supplemental Nutrition
Assistance Program (SNAP) benefits), an 42 U.S.C. § 1382(e)(4)(A)(ii) (2012) (Supplemental
Security Income)); damage to credit; and limitations on the ability to establish bank accounts.
Mechanisms used to target and collect court debt include suspending drivers’ licenses,
garnishing needed wages to support families, civil judgments brought by collection agencies,
liens, and tax refund interception. Bryan L. Adamson, Debt Bondage: How Private Collection
Agencies Keep the Formerly Incarcerated Tethered to the Criminal Justice System, 15 Nw. J.L. &
Soc. Pol’y 305, 318 (2020).

22. Pierce County's LFO collection system fuels poverty and social inequality by
reducing income and the capacity to accumulate wealth. Harris, Drawing Blood from Stones, at
1778. These harms increase when LFO debt is referred to a private collection agency.

23. Pierce County’s LFO collection system is unconstitutional.

24. The Due Process and Equal Protection clauses of the Fourteenth Amendment to
the United States Constitution and Article |, Sections 3 and 12 of the Washington State
Constitution prohibit punishing a person for nonpayment of LFOs without a meaningful ability-
to-pay hearing and a specific finding that either (a) the nonpayment was willful because the
person refused to pay from available resources or failed to make sufficient efforts to acquire
additional resources or (b) the person was unable to pay, despite having made sufficient efforts

to acquire resources, and alternative methods are inadequate to satisfy a legitimate

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government interest in punishment or deterrence. Bearden v. Georgia, 461 U.S. 660, 672-73
(1983); Smith v. Whatcom Cnty. Dist. Court, 147 Wn.2d 98, 111-12, 52 P.3d 485 (2002) (holding
Bearden must be followed before sanctions are imposed for nonpayment of LFOs); State v.
Blank, 131 Wn.2d 230, 242, 930 P.2d 1213 (1997) (holding “ability to pay must be considered”
before government “seeks to impose some additional penalty for failure to pay”).

25. The Excessive Fines Clause of the Eighth Amendment to the United States
Constitution and Article | Section 14 of the Washington State Constitution prohibit the
imposition of fines by states or municipalities when the fine is disproportionate to the gravity of
the offense to which it bears relationship. United States v. Bajakajian, 524 U.S. 321, 334 (1998);
State v. WWJ Corp., 138 Wn.2d 595, 603-04, 980 P.2d 1257 (1999). “The touchstone of the
constitutional inquiry wader the Excessive Fines Clause is the principle of proportionality.”
Bajakajian, 524 U.S. at 334.

26. The charges and interest that Pierce County imposes when referring an account
to a private collection agency are themselves LFOs. Thus, the charges and interest are added
punishment.

i 27. Pierce County imposes the charges and interest without any judicial involvement
or oversight.

28. Pierce County imposes the charges and interest without inquiring into an
individual’s ability to pay or determining that nonpayment was willful.

29. The charges and interest are disproportionate when the offense of nonpayment
is due to economic circumstances beyond a person’s control.

30. Indigent people like Plaintiff Eddie Lee Lemmon have suffered and will continue
to suffer harm as a result of Pierce County’s unconstitutional policy, practice, and custom.

31. Mr. Lemmon, an indigent person, brings this class action lawsuit under 42 U.S.C.
§ 1983, the Fourteenth Amendment to the United States Constitution, the Eighth Amendment

to the United States Constitution, and Sections 3, 12, and 14 of Article | of the Washington State

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Constitution.

32. Mr. Lemmon respectfully asks this Court for injunctive and declaratory relief to
prevent further constitutional violations and to protect the rights of all indigent people who
owe or will owe LFOs in relation to criminal cases prosecuted in the superior or district courts of
Pierce County and who have had or will have their accounts referred to a commercial collection
agency.

Hi. JURISDICTION AND VENUE

33. The Court has jurisdiction over this action under 42 U.S.C. § 1983 because this is
an action for deprivation of rights, privileges, and immunities secured by the United States
Constitution. See Staats v. Brown, 139 Wn.2d 757, 770-71 n.5, 991 P.2d 615 (2000) (noting state
courts have jurisdiction in actions brought under 42 U.S.C. § 1983).

34. — The Court has jurisdiction over this action under Article IV, Section 6 of the
Washington State Constitution and RCW 2.08.010 because this is a case in equity.

35. The Court has jurisdiction over this action under Article IV, Section 6 of the
Washington State Constitution and RCW 2.08.010 because exclusive jurisdiction over this
matter has not been vested in some other court.

36. The Court has jurisdiction over this action under the Uniform Declaratory
Judgments Act. RCW 7.24.010.

37. | Venue is proper in this Court under RCW 36.01.050(1) because Thurston County
is one of the two judicial districts nearest to Pierce County.

Ill. THE PARTIES

38. Plaintiff Eddie Lee Lemmon is a resident of Pierce County and an indigent person
who has outstanding LFOs imposed by the Pierce County superior court.

39. In December 2010, the Pierce County Clerk referred Mr. Lemmon’s LFO account
to a commercial collection agency. The outstanding balance at the time was $800, though the

County Clerk reported it as $900. When it referred the account to a commercial collection

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agency, Pierce County automatically assessed collection charges. Pierce County also started
assessing interest on the entire balance at a rate of 12 percent per annum.

40. Pierce County failed to provide adequate notice to Mr. Lemmon, inquire into his
ability to pay, or determine that his nonpayment was willful before assessing these additional
LFOs.

41. Defendant Pierce County is a Washington municipality.

IV. CLASS ACTION ALLEGATIONS

42. Plaintiff Lemmon brings this action pursuant to Civil Rule 23(a) and (b)(2) on
behalf of himself and all others similarly situated as members of the following proposed
plaintiff class:

Allindigent persons who owe or will owe legal financial obligations
in relation to criminal cases prosecuted in the superior and district
courts of Pierce County and who have had or will have their
accounts referred to a commercial collection agency.

43. The class is so numerous that the individual joinder of all members is
impracticable. Thousands of indigent people owe legal financial obligations in relation to
criminal cases prosecuted in the superior and district courts of Pierce County and have had
their accounts referred to a commercial collection agency.

44. There are questions of law and fact common to the class members. These
questions include but are not limited to the following:

a. Whether Pierce County has had and continues to have a policy, practice,
or custom of referring the LFO accounts of indigent people to a commercial collection agency.

b. Whether the policy, practice, and custom of referring LFO accounts of
indigent people to a commercial collection agency has resulted and continues to result in the
imposition of additional punishment by imposing additional LFOs in the form of charges and
interest;

Ci Whether Pierce County, acting pursuant to its policy, practice or custom,

has imposed and continues to impose this additional punishment without adequate notice;

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d. Whether Pierce County, acting pursuant to its policy, practice or custom,
has imposed and continues to impose this additional punishment without first inquiring into
ability to pay;

e€. Whether Pierce County, acting pursuant to its policy, practice or custom,
has imposed and continues to impose this additional punishment without first determining that
nonpayment was willful;

ft, Whether the additional punishment Pierce County has imposed and
continues to impose on indigent people is disproportionate because the offense of nonpayment
is due to economic circumstances beyond a person’s control;

g. Whether Pierce County's policy, practice, or custom of imposing this
additional punishment has violated and continues to violate the rights of indigent people; and

h. Whether class members are entitled to declaratory and injunctive relief.

45. Plaintiff Lemmon’s claims are typical of the claims of the members of the class he
seeks to represent. Like the other class members, Mr. Lemmon owes LFOs in relation to a
criminal case prosecuted in the courts of Pierce County and has had his account referred to a
commercial collection agency. Pierce County imposed additional punishment on Mr. Lemmon in
the form of added collection charges and interest but failed to provide him with adequate
notice, inquire into his ability to pay, or determine that his nonpayment was willful before
doing so. Moreover, the additional punishment was disproportionate because Mr. Lemmon’s
nonpayment was due to economic circumstances beyond his control. Accordingly, the claims of
Mr. Lemmon and the class arise out of the same policy, practice, and custom of Pierce County
and are based on the same legal and remedial theories.

46. Plaintiff Lemmon and his counsel will fairly and adequately protect the interests
of the class he seeks to represent. There are no conflicts between Mr. Lemmon and the class
members. Mr. Lemmon is represented by counsel who are experienced in class actions and

other complex litigation, including cases involving the types of constitutional claims asserted

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here; who have substantial knowledge of and experience with the applicable law; who have the
resources necessary to represent the class; and who will vigorously prosecute the case on
behalf of the class.

A7. Pierce County is acting or refusing to act on grounds generally applicable to the
class, thereby making appropriate final injunctive relief or corresponding declaratory relief with
respect to the class.

V. FACTS ENTITLING PLAINTIFF TO RELIEF

A. Pierce County has a policy, practice, and custom of imposing additional
punishment on people who are unable to afford LFOs.

Legal Financial Obligations (LFOs) in Pierce County.
48. Legal financial obligations are the fees, fines, costs, and restitution that courts
impose as part of a criminal sentence. See, e.g., RCW 9.94A.030(31).

49, Between 2010 and 2017, the Pierce County superior court assessed $105 million

‘in LFOs, and the Pierce County district court assessed $127 million in LEOs—both exclusive of

interest. See Karin Martin & Matt Fowle, Mitigating and Understanding the Nature, Extent, and
Harms of Criminal Justice Debt in Pierce County 8 (May 15, 2019) (Report to the West Coast
Poverty Center). These court fines and fees were imposed on hundreds of thousands of
individuals. Id. .

50. Of the $105 million in LFOs that the Pierce County superior court assessed
between 2010 and 2017, less than $10 million was paid during that period. See id. At the same
time, more than $46 million in interest accrued on the outstanding debt. See id.

51. In a 2018 focus group of Pierce County residents with LFOs, “a substantial
proportion of participants received convictions before 2010” but still owed money to the
County. /d. Some even owed LFOs from convictions that occurred in the early 1990s. fd. And
“many respondents had considerably more criminal justice debt compared to when the judge
originally assessed LFOs during conviction. Half of respondents currently owe over $5,000, but

only one-fifth (20.8%) were assessed over $5,000 during conviction.” /d.

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52. It is unsurprising that many of the people convicted in the superior and district
courts of Pierce County are unable to pay the LFOs imposed on them. In Pierce County in 2017,
more than 90 percent of those prosecuted in superior court and 42 percent of those
prosecuted in district court received a public defender because they could not afford an
attorney. Wash. State Office of Public Defense, 2017 Status Report on Public Defense in
Washington State 45 (April 2018).

53. Pierce County is assessing LFOs on defendants who are unable to pay and then

referring those debts to private collections agencies and imposing additional punishment

despite the inability of the defendants to pay.

The Pierce County Clerk and District Court Administrator are responsible for
collecting unpaid LFOs and establishing County policies and practices in relation
to that process.

54. ‘The clerk of each county in Washington “is authorized to collect unpaid legal
financial obligations at any time [an] offender remains under the jurisdiction of the court for
purposes of his or her legal financial obligations.” RCW 9.94A.760(5).

55. The Pierce County Clerk is Kevin Stock, and he is responsible for collecting LFOs
imposed by the Pierce County superior court.

56. Mr. Stock is a policymaker for Pierce County.

57. The Pierce County District Court Administrator is also authorized to collect
unpaid LFOs.

58. The Pierce County District Court Administrator is Misty Butler-Robinson, and she
is responsible for collecting LFOs imposed by the Pierce County district court.

59. Ms. Butler-Robinson is a policymaker for Pierce County.

Pierce County's Contract with AllianceOne Receivables.

60. Pierce County has entered into an agreement with AllianceOne Receivables
Management, Inc., a commercial collection agency, “for the recovery of unpaid Legal Financial

Obligation Accounts, including victim restitution, ordered in criminal judgments and sentences

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rendered in Pierce County Superior Court.” The agreement is outlined in the “Letter of
Establishment” attached to this complaint as Appendix 1.

61. On behalf of Pierce County, and in his official capacity as County Clerk, Mr. Stock
executed the Letter of Establishment on March 21, 2017, which had an effective date of
September 24, 2012. See App. 1 at 2.

62. Pierce County extended the agreement on the same terms after it expired on
May 31, 2020.

63. The Letter of Establishment provides: “The Pierce County Clerk... agree[s] that
a statutory court cost [will] be added to each account referred for collection, including
restitution collected on behalf of crime victims, and interest....” /d. at 1.

64. _——‘ The Letter of Establishment also provides that the Pierce County Clerk “directs
AllianceOne to perform the ministerial act of adding the statutory court cost to the referred
amount on its computer at the time of placement.” /d. at 2.

65. . AllianceOne has followed this directive with respect to every LFO account Pierce
County has referred to the company. See id.

66. The charges that Pierce County assesses amount to 23.4568 percent of debt
referred for collections occurring in-state and 29.8701 percent of debt referred for collections
aceuuring out-of-state. See id. at 1.

67. These charges apply to the entire balance of each account that is referred, as
well as any additional interest that accrues or additional fees that are imposed while the
collection agency services the account. See App. 1. For example, if an indigent person in
Washington accrues $100 in interest while the account is in collections, an additional $23.46 in
charges will be automatically assessed.

68. Pursuant to the Letter of Establishment, AllianceOne collects interest on

outstanding LFOs, including the charges assessed at the time of referral, at a rate of 12 percent.

See App. 1.
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Pierce County’s Contract with Transworld.

69. Pierce County has entered into a “Personal Services Agreement” with Transworld
Systems, Inc., a commercial collection agency, for the collection of “judgments for unpaid
infractions, traffic and non-traffic criminal cases, current and legacy (open infraction and
criminal cases) and other judgments payable to Pierce County.” The agreement is attached to
this complaint as Appendix 2.

70. On behalf of Pierce County, and in her official capacity as District Court
Administrator, Ms. Butler-Robinson executed the Personal Services Agreement on September
11, 2018. See App. 2.

71, Pierce County extended the agreement on the same terms after it expired on
August 31, 2020.

72. The Personal Services Agreement provides: “Uniform collection fees of 15.25%
will be applied to all categories of accounts. However, in the event the Contractor forwards a
judgment to an approved attorney the collection fee the Contractor is entitled to will be thirty
percent (30%).” /d. at 8.

73. The Personal Services Agreement also provides: “interest shall accrue at the
statutory rate on judgments and shall be charged pursuant to statutory authority on accounts
as provided by law.” /d.

74. Transworld has followed this directive with respect to every LFO account Pierce
County has referred to the company. See id.

75. The charges that Pierce County assesses amount to 17.9941 percent of debt

referred for collections and 42.8571 percent of debt forwarded to an attorney. See id.®

 

* Though it refers to a collection fee of either 15.25 or 30 percent, Transworld takes $15.25 or $30 out of every
$100 collected. App. 3 at 9. This results in a collection fee percentage that is higher than stated. For every $100
Transworld collects, it takes a fee of $15.25, and the remaining $84.75 goes to the court as interest or principal.
Thus, the fee Transworld actually charges is 17.99 percent (15.25 / 84.75 = .179941). AllianceOne similarly
misrepresents its collection fee percentage. See App. at a (referring to collection fee of 19 percent while charging
23.46 percent).

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76. These charges apply to the entire balance of each account that is referred, as
well as any additional interest that accrues or additional fees that are imposed while the
collection agency services the account. See App. 2 at 8. For example, if an indigent person in
Washington accrues $100 in interest while the account is in collections, an additional $17.99 in
charges will be automatically assessed.

77. Pursuant to the Personal Services Agreement, Transworld collects interest on
outstanding LFOs, including the charges assessed at the time of referral, at a rate of 12 percent.

See App. 2 at 8.

When it assesses collection charges and interest, Pierce County imposes
additional punishment on the person whose account is referred to the collection

agency.

78. The charges and interest that Pierce County assesses when it refers court debt to
AllianceOne and Transworld are legal financial obligations. See RCW 19.16.500(4).

79. Regardless of an individual’s ability to pay, Pierce County refers accounts to
AllianceOne and Transworld after 30 days of nonpayment or a late payment.

80. By assessing additional LFOs, Pierce County is imposing additional punishment
on the indigent people whose accounts are referred to collections for failure to pay. This
punishment takes two primary forms.

81, First, Pierce County substantially increases the monetary sanctions imposed in
relation to the underlying convictions; indeed, each debt automatically enlarges by
approximately 18 or 23 percent.

82. Second, Pierce County substantially increases the amount of time indigent
people will remain under the purview of the superior court because that court retains
jurisdiction over each convicted person until the person pays all LFOs in full or the LFOs are
resolved by other means. See State v. Blazina, 182 Wn.2d 827, 836-37, 344 P.3d 680 (2015)
(“courts retain jurisdiction over impoverished offenders . . . until they completely satisfy their
LFOs”); RCW 9.94A.760(5) (“For an offense committed on or after July 1, 2000, the court shall

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retain jurisdiction over the offender, for purposes of the offender’s compliance with payment
of the legal financial obligations, until the obligation is complete satisfied, regardless of the
statutory maximum for the crime.”). “This active record can have serious negative
consequences on employment, on housing, and on finances.” Blazina, 182 Wn.2d at 837. “All of
these reentry difficulties increase the chances of recidivism.” /d.

83. Significant collateral consequences can result from outstanding LFOs. See Martin
& Fowle, supra, at 4-5. Most of the participants of a Pierce County focus group conducted in
late 2018 had experienced negative consequences from unpaid LFOs including driver’s license
suspension, increased fines, additional fees, wage garnishment, and jail time, as well as indirect
consequences including damaged credit and an inability to obtain employment, housing, and
public assistance. /d. Many were homeless or lived with family or friends. /d. at 5. Seventy-three
percent of the respondents said they had to forgo at least two or more necessities to pay LFOs,
and the most common necessities given up were groceries, rent payments, transportation
costs, car payments, and utility bills. /d.

84. Unpaid LFOs can also prevent someone from vacating a misdemeanor conviction
when they otherwise would be entitled to. See RCW 9.96.060(2)(f)(iv), (g).

Pierce County fails to conduct an ability-to-pay hearing or determine that
nonpayment was willful before imposing additional punishment on indigent
people for overdue LFO accounts.

85. Pierce County follows a standard procedure for referring overdue LFO accounts
toa commercial collection agency.

86. When a person’s LFO account becomes delinquent, the County sends the person
a form letter. The letter states that the person has thirty days to pay the outstanding balance in
full or make new arrangements for payment with the Pierce County Clerk. The letter further
states that if the person does not satisfy one of these two requirements, the account will be

turned over to a commercial collection agency.

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87. Pierce County’s form letter fails to provide several pieces of critical information
to the person who owes the LFO debt. For example, the letter fails to explain that if the
person’s account is referred, the County will add substantial charges and interest to the
person’s underlying debt. The letter also fails to explain that the person has a right to an ability-
to-pay hearing before the County imposes these additional LFOs and if the person is indigent,
the County may not assess such charges and interest. Similarly, the letter fails to explain that if
the person is unable to afford the underlying debt, they are legally entitled to have the debt
reduced or waived.

88. ‘The letter outlines that there are only two options to avoid further fines and
fees: either pay the outstanding balance in full within thirty days or arrange for payment with
the Pierce County Clerk. Both options require that the individual have access to discretionary
funds. In effect, referring a person’s account to collections serves as punishment for being
unable to pay debt within the given timeframe and parameters, unfairly targeting and
punishing people for their indigency.

89. Pierce County does not inquire into a person’s ability to pay before referring an
LFO account to the commercial collection agency and imposing additional punishment on the
person who owes the debt.

90. Pierce County does not determine that nonpayment was willful before referring
an LFO account to the commercial collection agency and imposing additional punishment to the
person who owes the debt.

91. There are several unwilful, non-contumacious reasons that may lead a person to
not make payments. These include an inability to pay their fines in full when due and an
inability to pay their fines when combined with the fees and interest charged by collection
agencies. Being unable to make payments can be the result of unemployment, temporary

layoffs, incarceration, lack of any expendable income, or a combination of all of those and

more.

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92. Pierce County does not add fines and fees to the accounts of those who are able
to pay their LFOs within thirty days; the County only punishes those who cannot pay.

B. Pierce County’s policy, practice, and custom of imposing additional punishment on
indigent people for unpaid LFOs is unconstitutional.

93. When a person faces punishment for nonpayment of LFOs, “constitutional
fairness principles are implicated.” Blank, 131 Wn.2d at 241-42.

94. Before a person may constitutionally be punished for nonpayment of LFOs, the
government must examine the person’s financial circumstances and determine her current
ability to pay. See id. at 242 (“the relevant time [for an ability-to-pay inquiry] is the point of
collection and when sanctions are sought for nonpayment”).

95. Factors to consider when inquiring into a person’s ability to pay include whether
the person has been incarcerated; whether the person has other debts; whether the person’s
household income is at or below 1.25 times the federal poverty guideline; whether the person
receives assistance from a needs-based, means-tested assistance program; and any other
compelling circumstances that demonstrate the person is unable to pay. /d.

96. If the person meets the General Rule 34 standard for indigence, the government
must “seriously question” the person’s ability to pay LFOs. /d.

97. The Fourteenth Amendment to the United States Constitution and Article I,
Sections 3 and 12 of the Washington State Constitution prohibit governments from punishing
people for nonpayment of LFOs when the nonpayment is due to indigence. Bearden, 461 U.S. at
672-73; Smith, 147 Wn.2d at 111-12; Blank, 131 Wn.2d at 241-42.

98. Accordingly, several requirements must be satisfied before the government
sanctions a person for nonpayment of LFOs. See Bearden, 461 U.S. at 672-73; Smith, 147 Wn.2d
at 111-12. First, the government must notify the person that he or she may be charged with
nonpayment of a fine and, if the failure to pay is determined to be “willful,” may be punished as

a result. See Smith, 147 Wn.2d at 112-13. Second, the government must conduct a pre-

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deprivation inquiry into the person’s ability to pay, efforts to secure resources to pay, and
adequacy of alternatives to incarceration, and this inquiry must be on the record. Bearden, 461
U.S. at 672; Smith, 147 Wn.2d at 112; Blank, 131 Wn.2d at 242. And third, there must be a
finding that the failure to pay is willful (either because the person has the means to pay and has
refused to do so, or because the person has failed to make sufficient efforts to acquire
additional resources). If the failure to pay is not willful—that is, if the person was unable to pay
despite having made sufficient efforts to acquire resources—the government must also find
that alternative methods are inadequate to satisfy a legitimate interest in punishment or
deterrence. See Bearden, 461 U.S. at 672; Smith, 147 Wn.2d at 112. The general rule, though, is
that a person may not be sanctioned for nonpayment of a fine where the failure to pay is solely
because of indigence. See Smith, 147 Wn.2d at 111.

99. Pierce County routinely has imposed and continues to impose additional
punishment on indigent people for nonpayment of LFOs without first notifying them of the
relevant legal standards constraining the County’s ability to punish people for failure to pay
LFOs.

100. Pierce County routinely has imposed and continues to impose additional
punishment on indigent people for nonpayment of LFOs without first conducting inquiries into
their financial circumstances and their current ability to afford the overdue debts.

101. Pierce County routinely has imposed and continues to impose additional
punishment on indigent people for nonpayment of LFOs without first determining that the
nonpayment was willful.

102. These deprivations of due process and equal protection are part and parcel of,
and result directly from, Pierce County’s policy, practice, and custom of referring overdue LFO
accounts to a commercial collection agency and, in the process, imposing additional

punishment on indigent people by automatically assessing charges and interest.

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103. Pierce County’s policy, practice, and custom is unconstitutional because it
punishes indigent people more harshly than those who can afford to pay the LFOs imposed on
them in relation to cases prosecuted in superior court.

104. Pierce County’s policy, practice, and custom is also unconstitutional because it
results in disproportionate and excessive fines being imposed on indigent people for the
offense of nonpayment, which is due to economic circumstances beyond their control.

105. A penalty or requirement would have to be “solely remedial” to fall outside the
scope of what is considered punishment for the purposes of the Excessive Fines Clause. Austin
v. United States, 509 U.S. 602, 602-03 (1993). A penalty or requirement that is at least partially
punitive is punishment and is considered a fine even if it also has additional remedial purposes.
Timbs v. Indiana, 139 S. Ct. 682, 690 (2019).°

106. The Supreme Court has held that all civil penalties have some deterrent effect.
United States. v. Hudson, 522 U.S. 93, 102 (1997). Recently, the Ninth Circuit held that the
Excessive Fines Clause applies to municipal fines, concluding that the recent Supreme Court
decision in Timbs “affirmatively opens the door for Eighth Amendment challenges to fines
imposed by state and local authorities.” Pimentel v. City of Los Angeles, 974 F.3d 917, 920 (9th
Cir. July 22, 2020). The Ninth Circuit also implied that penalties for late payments may be
grossly disproportional to the offense of failing to pay an initial fine by remanding the issue. /d.
at 925. Evaluating whether the penalty amounts to an excessive fine requires a proportionality
analysis that balances the underlying offense against the amount of the fine. See Tellevik v.

6717 100th St. S.W., 83 Wn. App. 366, 375-76, 921 P.2d 1088 (1996).

 

 

° Washington’s legislature has stated that one of the purposes of LFOs is to hold offenders “accountable,” a goal
that is retributive in nature: “The purpose of this act is to create a system that: (1) Assists the courts in sentencing
felony offenders regarding the offenders’ LFOs; (2) holds offenders accountable to victims, counties, cities, the
state, municipalities, and society for the assessed costs associated with their crimes; and (3) provides remedies for
an individual or other entities to recoup or at least defray a portion of the loss associated with the costs of
felonious behavior.” Chapter 9.94A RCW 1989 c 252 § 1 (emphasis added).

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107. Pierce County has punished Plaintiff Lemmon and the class members for failure
to pay LFOs. The gravity of this offense is especially low when an individual fails to pay due to
economic circumstances. The fines and fees imposed on indigent people when Pierce County
refers their overdue LFOs to collections are grossly disproportionate to their failure to pay
because it punishes poverty rather than any willful or contumacious conduct.

108. As the Washington Supreme Court has recognized: the government “cannot
collect money from defendants who cannot pay,” and this obviates any need to impose
additional punishment on a person for nonpayment of LFOs. Blazina, 182 Wn.2d at 837; see
also City of Richland v. Wakefield, 186 Wn.2d 596, 607, 380 P.3d 459 (2016) (finding it “unjustly
punitive” to take actions against indigent people that “cause their LFO amount to increase”).

Cc. Pierce County’s violations of Plaintiff Lemmon’s constitutional rights.

109. Plaintiff Eddie Lee Lemmon is a 56-year-old Black man and military veteran. He
lives with disabilities and currently resides in a shelter operated by the Washington State
Department of Veterans Affairs. Mr. Lemmon has four grown children and one teenage son. His
son lives with Mr. Lemmon’s former spouse.

110. Mr. Lemmon works 15 hours per week at the shelter conducting screenings, and
he is paid $10 per hour. The rest of his income is in the form of VA and social security benefits.
The Social Security Administration deducts $517 each month for Mr. Lemman’s teenage son,
and Mr. Lemmon pays $659 each month for room and board.

111. Over ten years ago, on October 8, 2010, Mr. Lemmon was convicted on three
charges in Pierce County superior court under cause number 10-1-00961-4.

112. The court sentenced Mr. Lemmon to confinement and assessed $800 in LFOs.

113. On December 1, 2010, the Pierce County Clerk sent a form letter to Mr.
Lemmon, who was incarcerated at the time. The letter stated: “As a condition of the Judgment
and Sentence in [Case No. 10-1-00961-4] the Pierce County Superior Court permitted you to

make payments on your LFO’s for court costs, fines, and/or restitution. According to our

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records you have failed to comply with this condition of your Judgment and Sentence and are .
now delinquent on your LFO payments.” The letter Mr. Lemmon received is attached to this
complaint as Appendix 3.

114. The letter also stated: “Within 30 days from the date of this notice you must pay
the outstanding balance due or make new arrangements for payment with this office. If you do
not respond to this notice within the 30 days we will turn this case over to our Commercial
Collection Agent. As of that time you will be required to deal ONLY with the collection agent
regarding payments.” App. 3.

115. The letter listed both the “Judgment Amount” and the “Outstanding Balance” as
$900 even though the court had assessed $800 in LFOs.

116. Mr. Lemmon could not afford to pay his LFOs at the time they were assessed
because he was unemployed prior to his judgment and incarceration. Mr. Lemmon also could
not make payments toward his LFO debt at the time Pierce County sent the fort letter
notifying him of his delinquency as he was still incarcerated. Pierce County did not inquire into
Mr. Lemmon’s ability to pay his outstanding debt before sending his debt to the collection
agent.

117. After Mr. Lemmon’s release he remained unemployed for months due to the
difficulty of obtaining a job with a criminal record. Since his release, Mr. Lemmon has mainly
worked part-time, minimum wage jobs as a dishwasher and as a maintenance worker ata gas
station. The last time Mr. Lemmon was fully employed was in 2009, months prior to his
incarceration, when he worked as a meat cutter at a grocery store.

118. Mr. Lemmon has also struggled to retain stable housing since his release over a
decade ago. Mr. Lemmon has stayed on his brother’s property, with a friend, in shelters, in
hotels, and eventually was able to get an apartment through the VA program. However, after
undergoing three major surgeries, Mr. Lemmon was evicted during his hospitalization. Since

being evicted, Mr. Lemmon has stayed in a Veterans Home in Orting.

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119. Mr. Lemmon continues to have no major assets. He has never owned a home.

120. Mr. Lemmon’s LFOs remain in collection status to this day. As of November 19,
2020, Pierce County reported that Mr. Lemmon’s balance was $1,634.28, comprising $900 in
principal and $734.28 in interest. Based on the agreement Pierce County has with AllianceOne,
the collection fee on Mr, Lemmon’s account likely exceeds $380, bringing his total LFO debt to
over $2,000—more than 2.5 times what the superior court initially assessed.

121. The letter that Pierce County sent to Mr. Lemmon in December 2010 failed to
provide him with several pieces of critical information. For example, the letter failed to explain
that if the account were referred to a commercial collection agency, the County would impose
additional punishment on Mr. Lemmon by adding substantial charges and interest to the
underlying debt. The letter also failed to explain that Mr. Lemmon had a right to an ability-to-
pay hearing before the County imposed these additional LFOs and that if Mr. Lemmon was
found to be unable to pay his LFOs, the County would not be allowed to assess such charges
and interest. The letter also failed to explain that if Mr. Lemmon was unable to afford the
underlying debt, he could ask to have the debt reduced or waived.

122. Mr. Lemmon is currently indigent and does not have the ability to pay his LFOs.
Mr. Lemmon is indigent because he receives poverty-related veterans’ benefits and
supplemental security income. See RCW 10.101.010(3)(a); GR 34(a)(3)(A).

123. Mr. Lemmon did not have the ability to pay the LFOs imposed on him at the time
of sentencing by the Pierce County superior court in 2010.

124. Mr. Lemmon likewise did not have the ability to pay the LFOs imposed on him at
the time Pierce County sent the court debt to a private collection agency.

125. Pierce County imposed additional punishment on Mr. Lemmon without first

inquiring into his ability to pay.

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126. Pierce County imposed additional punishment on Mr. Lemmon without first
determining that his nonpayment was willful.

127. At the time Pierce County imposed additional punishment on Mr. Lemmon, he
lacked the ability to pay the LFOs he owed to the County, and it was highly unlikely that he
would be able to pay them in the foreseeable future.

128. Pierce County, through AllianceOne, continues to try and collect the outstanding
LFOs from Mr. Lemmon despite his indigence.

VI. CAUSES OF ACTION—COUNT ONE

(under Section 1983 for violation of the Fourteenth Amendment
to the United States Constitution (42 U.S.C. § 1983))

129. The allegations above are incorporated herein.

130. The Due Process and Equal Protection clauses of the Fourteenth Amendment to
the United States Constitution prohibit punishing a person for nonpayment of LFOs when the
nonpayment is due to the person’s indigence unless alternative methods are inadequate to
satisfy a legitimate interest in punishment or deterrence. Bearden, 461 U.S. at 672-73.

131. Before imposing additional punishment on a person for nonpayment of LFOs,
Pierce County must conduct an inquiry into the person’s ability to pay, efforts to.secure
resources to pay and, if the person lacks the ability to pay despite having made sufficient efforts
to acquire additional resources, the availability and adequacy of alternative punishments.
Pierce County is prohibited from imposing additional punishment on the person unless the
County conducts this inquiry and finds that (a) the nonpayment is willful, either because the
person refuses to pay from available resources or has failed to make sufficient efforts to
acquire additional resources, or (b) the person is unable to pay despite having made sufficient
efforts to acquire resources and alternative methods are inadequate to satisfy a legitimate
government interest in punishment or deterrence.

132. Acting under color of law, Pierce County has 4 policy, practice, and custom of

referring overdue LFO accounts to a commercial collection agency and, in the process,

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punishing indigent people by automatically assessing substantial charges and interest without
conducting a constitutionally required inquiry into the ability of those people to pay, the
adequacy of efforts to acquire resources to pay, the willfuthess of nonpayment, or the
availability of alternatives to additional punishment. As a result, Pierce County is violating and
causing violations of the Fourteenth Amendment of the United States Constitution.

133. Plaintiff Lemmon ard members of the class are indigent persons who owe or will
owe legal financial obligations in relation to criminal cases prosecuted in the superior or district
courts of Pierce County and who have had or will have their accounts referred to a commercial
collection agency.

134. Pierce County—acting pursuant to its policy, practice, and custom—has imposed
additional punishment on Plaintiff Lemmon and members of the class by referring their LFO
accounts to a commercial collection agency without conducting a constitutionally required
inquiry into the ability of those people to pay, the adequacy of efforts to acquire EUUICES to
pay, the willfulness of nonpayment, or the availability of alternatives to additional punishment.

135. The additional punishment Pierce County has imposed is ongoing and unless
enjoined by the Court, the County will continue to violate and cause violation of the
constitutional rights of Plaintiff Lemmon and members of the class.

136. Asaresult of Pierce County’s unconstitutional actions, Plaintiff Lemmon and the
class members are entitled to declaratory and injunctive relief as well as an award of attorneys’
fees and costs. |

Vil. CAUSES OF ACTION—COUNT TWO

(for violation of Article 1, Sections 3 and 12 of the Washington
Constitution)

137. The allegations above are incorporated herein.
138. Article |, Sections 3 and 12 of the Washington Constitution also prohibit
punishing a person for nonpayment of LFOs when the nonpayment is due to the person’s

indigence unless alternative methods are inadequate to satisfy a legitimate interest in

: TERRELL MARSHALL LAW GROUP PLLC
COMPLAINT FOR DECLARATORY AND INJUNCTIVE Ee Wath, Sener ee
RELIEF ~- 25 TEL, 206.816.6603 # FAX 206.350.3528
www.terrellmarshall.com

 
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punishment or deterrence.
139. This cause of action is coextensive with the cause of action for violation of the
United States Constitution set forth in Count Three.

Vill. CAUSES OF ACTION — COUNT THREE

(under Section 1983 for violation of the Excessive Fines Clause of the
Eighth Amendment to the United States)

140. The allegations above are incorporated herein.

141. The Excessive Fines Clause of the Eighth Amendment, incorporated against the
states through the Fourteenth Amendment, limits the government’s power to extract payments
that are disproportionate to the gravity of the offense.

142. Any payment required of an individual by the government, whether monetary or
in kind, is subject to constitutional scrutiny as an excessive fine.

143. Referring LFO debt to a commercial collection agency is a substantial monetary
punishment for failure to pay court debt and thus is a fine subject to constitutional excessive
fines analysis.

144. Fines that are grossly disproportionate to the underlying offense are
unconstitutional excessive fines.

145. Referring LFO debt to commercial collection agencies where additional fines and
fees are added is grossly disproportionate to the underlying offense—failure to pay due to
indigency. Thus, Pierce County’s practice of automatically imposing excessive fines when
referring debt to collections for failure to pay is unconstitutional.

146. As aresult of Pierce County’s unconstitutional actions, Plaintiff Lemmon and the
class members are entitled to declaratory and injunctive relief as well as an award of attorneys’

fees and costs.

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Vill. CAUSES OF ACTION — COUNT FOUR
(for violation of Article |, Section 14 of the Washington Constitution)

147. The allegations above are incorporated herein.

148. The Washington State Constitution Article 1, Section 14 also limits the
government’s power to extract payments that are disproportionate to the gravity of the
offense. Wash. Const. art. 1 § 14.

149. ‘This cause of action is coextensive with the cause of action for violation of the
United States Constitution set forth in Count Three.

IX. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief as follows:

A. For certification of the class defined above;

B. For a declaration that Pierce County’s policy, practice, and custom of referring
overdue LFO accounts to commercial collection agencies and, in the process, punishing indigent
people by automatically assessing substantial charges and interest without adequate notice, an
inquiry into their ability to pay, or a determination that the nonpayment was willful has violated
and will continue to violate the rights of Plaintiff Lemmon and class members under the
Fourteenth Amendment to the United States Constitution and Article |, Sections 3 and 12 of the
Washington State Constitution;

C. For a declaration that Pierce Cou nty’s policy, practice, and custom of referring
overdue LFO accounts to a commercial collection agency and, in the process, punishing indigent
people by automatically assessing substantial charges and interest that are disproportionate to
the offense of nonpayment has violated and will continue to violate the rights of Plaintiff
Lemmon and class members under the Excessive Fines Clause of the Amendment to the United

States Constitution and Article |, Section 14 of the Washington State Constitution;

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Seattle, Washington 98103-8869
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D. For the issuance of preliminary and permanent injunctions prohibiting Pierce
County from allowing ary LFO account to remain referred to a commercial collection agency
unless the County can demonstrate that it provided adequate notice, inquired into ability to
pay, and determined that nonpayment was willful before referring the account;

E. For the issuance of preliminary and permanent injunctions prohibiting Pierce
County from referring any LFO account to a commercial collection agency unless the County has
first provided adequate notice, inquired into ability to pay, and determined that nonpayment
was willful;

F, For the issuance of preliminary and permanent injunctions prohibiting Pierce
County from enforcing any charges and interest assessed in relation to the referral of an LFO
account to a commercial collection agency without adequate notice, an inquiry into ability to
pay, and a determination that the nonpayment was willful;

G. For the issuance of preliminary and permanent injunctions prohibiting Pierce
County from enforcing against indigent persons any charges and interest assessed in relation to
the referral of LFO accounts to commercial collection agencies;

H. For an award of Plaintiff's attorneys’ fees and costs; and

I. For such other and further relief as the Court may deem just and proper.

RESPECTFULLY SUBMITTED AND DATED this 26th day of April, 2021.

TERRELL MARSHALL LAW GROUP PLLC

By: /s/ Toby J. Marshall, WSBA #32726
Toby J. Marshall, WSBA #32726
Email: tmarshall@terrellmarshall.com
936 North 34th Street, Suite 300
Seattle, Washington 98103-8869
Telephone: (206) 816-6603
Facsimile: (206) 319-5450

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COMPLAINT FOR DECLARATORY AND INJUNCTIVE
RELIEF - 29

AMERICAN CIVIL LIBERTIES UNION OF
WASHINGTON FOUNDATION

By: /s/ Breanne Schuster, WSBA #49993
Breanne Schuster, WSBA #49993
Email: bschuster@aclu-wa.org

By: /s/ Julia Mizutani, WSBA #55615
Julia Mizutani, WSBA #55615
Email: jmizutani@aclu-wa.org
P.O. Box 2728
Seattle, Washington 98111-2728
Telephone: (206) 624-2184
Facsimile: (206) 624-2190

Attorneys for Plaintiff

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— APPENDIX 1—
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LETTER OF ESTABLISHMENT

Effective date: September 24, 2012

In accordance with the State Contract 02912 for Debt Collection Services, and RCW 36.18.190, Pierce County
(“Client”) wishes to utilize, and AllianceOne Receivables Management, Inc. (“AllianceOne”) wishes to provide,
collection services for the recovery of unpaid Legal Financial Obligation accounts, including victim restitution,
ordered in criminal judgments and sentences rendered in Pierce County Superior Court. RCW 36.18.190 provides in
pertinent part;

Superior court clerks may contract with collection agencies under chapter 19.16 RCW or may use county
collection services for the collection of unpaid court-ordered legal financial obligations as enumerated in
RCW 9.944.030 that are ordered pursuant to a felony or misdemeanor conviction and of unpaid financial
obligations imposed under Title 13 RCW. The costs for the agencies or county services shall be paid by the
debtor. The superior court may, at sentencing or at any time within ten years, assess as court costs the
moneys paid for remuneration for services or charges paid to collection agencies or for collection services.
By agreement, clerks may authorize collection agencies to retain all or any portion of the interest collected
on these accounts.

The parties agree that the statutory court cost to be added by Client ta the account balances (including interest
accrued and accruing, and assessed fees, if any) referred to AllianceOne as of the effective date of this letter
agreement will be as follows:

The Pierce County Clerk of the Superior Court and AllianceOne Receivables Management Inc., agree that a
statutory court cost be added to each account referred for collection, including restitution collected on behalf of
crime victims, and interest, as provided by the Contract.

Pursuant to the Contract, AlllanceOne will retain from each payment received 19% {instate regular and legal) and
23% (out-of-state regular and legal) as its fee.

Example:

Pierce County Superior Court Fine and Interest: $100.00

Statutory Court Cost $23.4568 per $100 assessed: 5 23.4568

Total Judgment to be collected: $123.4568

Full Payment Received: $123.4568

Remittance to Court $100.00

19% Retained by AllianceOne § 23.4568 (= 19% of $123.4568 total judgment)

Partial payments will be remitted on the same pro-rata basis: 81% remitted to the Clerk,
19% retained by AllianceOne, until paid in full.

Alf interest collected will be remitted to the Clerk.

This Letter of Establishment amends and supersedes any other contract or understanding between the

Page lof 2
{Letter of Establishment) é ro

 
 

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Pierce County Clerk and AllianceOne Receivables Management, Inc.

Client directs AllianceOne to perforrn the ministerial act of adding the statutory court cost to the referred amount
on its computer at the time of placement. All accounts listed prior to the effective date of this letter agreement will
remain at the then-current rates.

Client will provide notice to account debtors prior to referral to collection.

This Letter of Establishment and the above-referenced State of Washington Contract are agreed to by the
undersigned, effective as of the date above specified:

Pierce County AllianceOne Receivables Management, Inc.
5 t
By: Let? By: fe - er

 

 

Kevin Stock "~~ Kevin Underwood

Pierce County Superior Court Clerk Senior Vice President

930 Tacoma Ave. So.,Rm 110 6565Kimball Ave, St 200

Tacoma, WA 98402 : Gig Harbor, WA 98335

253-798-3372 253-620-2200

Stet 7 o° 2a «2?
Date Date

Approved as to form:

» coe Taser de

Deputy Prosecuting Attorney q- aie

Page 2 of 2
Case 3:21-cv-05390-DGE Document 1-2 Filed 05/24/21 Page 33 of 60

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ADDENDUM #1 TO
LETTER OF ESTABLISHMENT
PIERCE COUNTY

This Addendum #1 to that certain LETTER OF ESTABLISHMENT by and between AllianceOne
Receivables Management Inc. (“ARMI”), a Delaware corporation, with its principal place of business at
4850 E. Street Road, Suite 300, Trevose, PA 19053 and Pierce County (“Client”) is executed to be
effective the day of April, 2017.

. WHEREAS, the parties entered into a Letter of Establishment effective September 24, 2012 (the “LOE”);
WHEREAS, the parties desire to enter into this Addendum #1 to the LOE;

NOW THEREFORE, in consideration of the mutual promises and covenants contained herein, the receipt
and sufficiency of which is hereby acknowledged, the parties agree as follows:

1. ARMI agrees to comply with the Payment Card Industry Data Security Standard (PCI-DSS),
Attachment A, as attached hereto and made a part hereof for all purposes.

2. Except as modified hereby, the LOE remains in full force and effect.

IN WITNESS WHEREOF, the parties have duly executed this Addendum to be effective as of the date
first set forth above.

vel PR . Inc,

a= ere I
Chief Fihanctal Officey

Date: | \3| im | | Date: ip 20/ lé

 

 

   

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Atiachment A
To Addendum #1

PAYMENT CARD INDUSTRY DATA SECURITY
STANDARD (PCI-DSS)

ETRE Re Me NS Be al an AIRE EE ELAS ote Ree eh, UT oar chee fietb Ra RS Leman,

Summary: Pieree County departments ond third party verdars will ensure payment
processing is if Compliance with Payment Cord Industry Data Security
Staniards (PCI-DSS) wien eccepting payment by credit cord, debit card, or
check card. Any known or suspected deta breaches must be immediately
reported to the Information Technology 0T} Service Desk,

Pata TRL Na PLS Re OR roe EW DE oe Oe ne Mae gM gig Re EEL EE oes

Whar decepting payntent by credit card, debit card, ar chack card, cardholder data must be
safeguarded in compliance with PC}-O55.

Each County Bepartment thai accepts card payrnent will:

1, Submit annual certifications to the IT Department within 10 days of reaewal. The cequieed -
<oritfication includes a copy af the appropriate Payment Card Industy Self-Assessment
Questionnaire and a signed Attestation of Compliance.

2, Work with the If Department (o ensure accurate Information is entered Into the onling
¢cortification application. Assiga an individual or team to establish, document, and
distribute secusily incident response one escalation procedures for tite timely and affective
fesafution af alf breachés of cardholder data detutity in the department.

3. immediately notify the IT Department of any known or suspacted date breaches.

4. Ensure all employers in the eopartment are aware of the Importance of cardholder data
security and to deGne thelr infurmation security responsibilities.

fach County Department that has ized 2 third party vendor that accepts card payments fay the
County with

Lo fasure the contract with the vendor has language requiring PCI-O$S compliance and
annual submittal of certifications to the IT Department. Copies of these certifications wit
then be fonvarded ta the Budget and Finance Oepattinent,

2. Immediately notify the Ef Oenarlment of any knoven or suspected date breaches.

Additional requirements:

1. Cardholder information must never be stored. This includes:
a, Personal identification number {PIN} of the encrypted PIN block.
&. Card validation code (thiee-igit or four-digit nuaiker printed an the card and used for
tandbaol-prosent transactions),
c. The full coments of any track from the magnetic stripe (or date chip) of the card.

 

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Parwtnt Cano lubud/iy Data Stcuriry STARDAKO

2, Cardholder's £6-digit account number (Pmaty Account Number or PAN) myst not be

3,

$3

aniered or slored In a permanent manual or electronic date file unless required for

buslnest, legal, or regulatary purposes.

o. The PAN raust be masked when displayed, The first six and last four digits are the
maximum number to be displayed, (This requirement does nat gpply to postios with a
specific aeed to fee the full PAN}

b. Washington State law requires the PAN ba truncated and the axplration date
supprassed on all copies of printed recelpts, .

«An unaacrypted PAN must never bo sent by oral, Instant messaging, of ony other

electronic messaging technology.

thelusion of the ful 16-digit cardholder number In a data file must be specifically
authorized in writing by the Dlegetor of Budget and Finenee. Written requests for
sulhorization must be submitted by tha Clractor of the department or agency with
responsibility for the dota file. The request must indude:

4 A cornplete fst of customer related date dlemunts to be stored: and

{The season cach data slemant Is required,

Requirements for safeguarding recelpts, beich ruports, and other dogyments which Indude

PAN data are a5 follows;

a. Whon the gard payment Is made it person, the austere must be given n copy of the
transaction feceipi,

4, Whon payment is rade by mall, oniina, or islephone, the customer copy of the recelpt
must be mailed fo the cardholder or stored with the merchant copy, in accordance wiih
written department polly,

€, The merchant copy af the recelpt mug{ be stored in 2 secure location immediately after

tha transection ls completed. Aecaipts which display a card number must be held ino

locked file und aceessibte tp authorized persgnnel oly,

Order ferms containing primery sccoun| numbers must be destroyed of stored with

the merchant copy of the trantaction recalpt, In accordance with written department

policy,

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, Reports (such a3 baich reports or daily transaction fists} which display primary eecount

numbers and customer dats Hust be physleally secured in the same monnor as recolpts,

Transfer of haedcopy files to p County records center is acceptable as the materials ate

smequarded from casual accoss and destruction is cardiled at the end of ihe retention

period.

& Reports with Adl PAN musi never be sent to other County departments os supporting
deciymentation for accaunling enter. .

b, Where possible, parts must be modified to display 5 transaction 10 number or a
routing number ingtaad of the primary account number, of to mask a ponion of the
umber, :

hadia containing caidhelde: data must be stored in a siictly coniroliad Incation and

dastrayed whon It is no longer noeded,

 

1 # Policy and Procedurd: Manual

 
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Pavan Cake rousiay Data Sicustty Sangean

a. Hardcopy materials must be shredded, incinerated, o¢ pulped at the end of the
retention potiog
&. Electronic media must be purged, demagnelized, ar ollberwisa destroyed so that
cardholder dita cannot be recoristucted,
6 {cardholder data is shared with a service provider:
a, Adepartment must have ¢ witten agreament hat includes an acknowledgement that
the Sorvice provider Is responsible for the security of candboider data,
b, The service provider's Payment Card Industry Data Security Standard complionce status
must be monitored,
Due diligence must be exercised price io the engagament of a service provider.
@. Alist of service providers must be maintained.

n

This podey will be reviewed und updated at leas] once each year by the Pierce County Budget and
Finance and {T Oepartments ta refine? changer in the environment ani in the Payment Card
Indusuy Dala Securlly Stendards, :

Effective: Aagust 2022

Revised: August 2016

References; Payment Card ladustry
Date Security Stendords

Policy previously titled Daut Privecy.

 

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— APPENDIX 2 —
Case 3:21-cv-05390-DGE Document 1-2 Filed 05/24/21 Page 38 of 60

AMENDMENT # 14
to Contract SC-106149
dated 08/34/2020
for =
Extending Contract SC-106149 for collections services for District Court referrals from ending August 315, 2020 to ending
August 318, 2021
THIS AGREEMENT is made and entered into by Pierce County (County) and Transworld Systems Inc.

(Contractor)

WHEREAS, the parties have previously entered into an agreement dated September 1, 2018 through August 31,
2020 for collections services for District Court referrals,

WHEREAS, the parties desire to amend the agreement in consideration of the mutual benefits and advantages to
be derived by each of the parties,

IT IS HEREBY AGREED as follows:
Term of Agreement: The Parties hereby agree to extend the term of the agreement pursuant to the following:
1.1. The term of the Agreement shall be extended through and including August 31, 2021.
All other terms and conditions of the agreement and all supplements and modifications thereto shall remain in full force
and effect.
IN WITNESS WHEREOF, the parties have executed this Agreement, on the day and year last specified below.
CONTRACTOR:

PIERCE COUNTY:
Transworld Systems Inc.

 

 

Full Firm Name Approved as to legal form only:
gl ey see attached
(Signattire) * DEPUTY PROSECUTING ATTORNEY Date

Chief Operating Officer
Title of Signatory Authorized by Firm Bylaws Approved:

Mailing Address: 150 N. Field Drive, Suite 200

Lake Forest, IL 60045 see attached
FINANCE Date

 

Street Address, if different:

 

see attached
DEPARTMENT DIRECTOR Date

 

Federal Tax ID or Sacial Security Number:

XX-XXXXXXX

 

COUNTY EXECUTIVE Date
($250,000 or more)

 
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AMENDMENT # 1
to Contract SC-106149
dated 08/31/2020
for
Extending Contract SC-106149 for collections services for District Court referrals from ending August 315, 2020 to ending
August 318, 2024
THIS AGREEMENT is made and entered into by Pierce County (County) and Transworld Systems Inc.

(Contractor)

WHEREAS, the parties have previously entered into an agreement dated September 1, 2018 through August 31,
2020 for collections services for District Court referrals,

WHEREAS, the parties desire to amend the agreement in consideration of the mutual benefits and advantages to
be derived by each of the parties,

IT IS HEREBY AGREED as follows:
Term of Agreement: The Parties hereby agree to extend the term of the agreement pursuant to the following:
1.1. The term of the Agreement shall be extended through and including August 31, 2021.
All other terms and conditions of the agreement and all } SHppIenihits and modifications thereto shall remain in full forse
and effect.

IN WITNESS WHEREOF, the parties have executed this Agreement, on the day and year last specified below.

 

 

 

 

CONTRACTOR:
PIERCE COUNTY:
see attached
Full Firm Name Approved as to legal form only:
Pru cw fe) OSS ak |
(Signature) DEPUTY PROSECUTING Lene Date _
Bfhol2Zo
Title of Signatory Authorized by Firm Bylaws Approved:

 

Mailing Addreae:
Electronic review/approval in WD on 9/2/20

 

 

 

 

 

 

 

FINANCE Date
Sireet Address, if different:
: hate Le Ffpeze
DEPARTMENT DIRECTOR "Date
Federal Tax ID or Social Security Number:
COUNTY EXECUTIVE Date

($250,000 or more)

 
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ait. PERSONAL SERVICES AGREEMENT

CONTRACT NO. SC-106149

Transworld Systems, Inc. , hereinafter called Contractor, and Pierce County, hereinafter called County, agree as set forth
in this Agreement, including: :

General Conditions _ pages 2 to6
Exhibit A (Scope of Work) pages.7 to 12
Exhibit B (Compensation) pages 13 to 14
Exhibit C (Contract Compliance) pages 15 to 18

Exhibit D (any Special Provisions) pages 19 to 20
Copies of the above mentioned are attached and incorporated herein by this reference as fully as if set forth herein.

Term of Agreement: September 1, 2018 through August 31, 2020, unless terminated or renewed elsewhere in the
Agreement.

Maximum consideration for the initial term of this Agreement or for any renewal term shall not exceed $0.

Contractor acknowledges and by signing this contract agrees that the Indemnification provisions set forth in Paragraphs 5,
7, 13, 15, 20, and 23, are totally and fully part of this contract and have been mutually negotiated by the parties.

IN WITNESS WHEREOF, the parties have executed this Agreement this lett day ofNoverdbero1 8.

CONTRACTOR: _ PIERCE COUNTY:

 

Approved as to legal form only:

yor, Malis

 

  
    

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deputy Prosecuting Attorney ~~ Date
eas Recommended:
Fete cer mz
Chief Revenve Officer ~~ Poh Ban pore
Title of Signatory Authorized by Firm Bylaws @ Den’ \OLer = AJNY
Finance = Date
150 N. Field Drive, Sulte 200 Approved:
Mailing Address
q “lp.
Lake Forest, 11, 60045 Date
City, State, Zip
Plarce County Executive ($250,000 or mora) Date
CONTACT INFORMATION
Contractor Pierce County Department Pierce County Purchasing Agent
Name Transworld Systems, Inc Misty Robison Kenneth L. Matthews
Title | Chief fficer Court Administrator Purchasing Agent
Phone | Ge2-F27-6460 17. G750-797lp| 253-798-7753 253-798-7456
Cell
Fax David. Zuri 253-798-7603 253-798-6699
Email srormriteia @tsico.com kmatthe@co.pierce.wa.us
Address | 150N. Field Drive, Suite 200 930 Tacoma Ave S, Rm 239: 950 Fawcett Ave, Suite 100
Lake Forest, IL 60045 Tacoma, WA 98402 Tacoma, WA 98402
PSAMASTER.DOC 1

Rev. 5/13/11
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Contractor Name: Transworld Systems, inc. * Contract No.

1.

GENERAL CONDITIONS
Scope of Contractor's Services:
The Contractor agrees to provide to the County services and any materials set forth in the project narrative identified as
Exhibit “A" during the Agreement period. No material, labor, or facilities will be furnished by the County, unless otherwise
provided for in the Agreement.

Accounting and Payment for Contractor Services: :
Payment to the Contractor for services rendered under this Agreement shall be as set forth in Exhibit "B." Where Exhibit
"B" requires payments by Pierce County, payment shall be based upon billings, supported unless otherwise provided in
Exhibit "B," by documentation of units of work actually performed and amounts eamed, including where appropriate, the
actual number of days worked each month, total number of hours for the month, and the total dollar payment requested,
Unless specifically stated in Exhibit “B" or approved in writing in advance by the official executing this Agreement for
Pierce County, (hereinafter referred to as the "Contracting Officer",) the County will not reimburse the Contractor for any
costs or expenses incurred by the Contractor in the performance of this contract. :

Where required, the County shail, upon receipt of appropriate documentation, compensate the Contractor, no more often
than monthly, through the County voucher system for the Contractor's service pursuant to the fee schedule set forth in
Exhibit "8."

. Assignment and Subcontracting:

No portion of this contract may be assigned or subcontracted to any other individual, firm or entity without the express
and prior written approval of the Contracting Officer.

Labor Standards and Contract Assistance:

“The Contractor shall comply with the provisions of Exhibit “C", attached hereto, titled “Contract Compliance For

Professional, Technical, Supply or Services”.

Independent Contractor: ;
The Contractor's services shall be furnished by the Contractor as an independent Contractor and nothing herein

contained shall be construed to create a relationship of employer-employee or master-servant, but all payments made
hereunder and all services performed shall be made and performed pursuant to this Agreement by the Contractor as an
independent Contractor.

The Contractor acknowledges that the entire compensation for this Agreement is specified in Exhibit "B" and the
Contractor is not entitled to any County benefits including, but not limited to: vacation pay, holiday pay, sick leave pay,
medical, dental, or other insurance benefits, or any other rights or privileges afforded to Pierce County employees. The
Contractor represents that he/she/it maintains a separate place of business, serves clients other than the County, will
report all income and expense accrued under this contract to the Internal Revenue Service, and has a tax account with
the State of Washington Department of Revenue for payment of all sales and use and Business and Occupation taxes
collected by the State of Washington.

Contractor will defend, indemnify and hold harmless the County, its officers, agents or employees from any loss or

expense, including but not limited to settlements, judgments, setoffs, attorneys’ fees or costs incurred by reason of claims
or demands because of breach of the provisions of this paragraph.

No Guarantee of Employment:

‘The performance of all or part of this contract by the Contractor shall not operate to vest any employment rights

whatsoever and shall not be deemed to guarantee any employment of the Contractor or any employee of the Contractor
or any subcontractor or any employee of any subcontractor by the County at the present time or in the future.

Taxes:
The Contractor understands and acknowledges that the County will not withhold Federal or State income taxes. Where
required by State or Federal law, the Contractor authorizes the County to make withholding for any taxes other than
income taxes (i.e., Medicare). All compensation received by the Contractor will be reported to the Internal Revenue
Service at the end of the calendar year in accordance with the applicable IRS regulations. It is the responsibility of the
Contractor to make the necessary estimated tax payments throughout the year, if any, and the Contractor is solely liable .
for any tax obligation arising from the Contractor's performance of this Agreement. The Contractor hereby agrees to
indemnify the County against any demand to pay taxes arising from the Contractors failure to pay taxes on
compensation earned pursuant to this Agreement.

 

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Contractor Name: Transworld Systems, inc. Contract No.

The County will pay sales and use taxes imposed on goods or services acquired hereunder as required by law. The
Contractor must pay all other taxes including, but not limited to: Business and Occupation Tax, taxes based on the
Contractor's gross or net income, or personal property to which the County does not hold title. The County is exempt
from Federal Excise Tax. :

8. Regulations and Requirement:
This Agreement shall be subject to all laws, rules, and regulations of the United States of America, the State of

Washington, and political subdivisions of the State of Washington, and to any other provisions set forth in Exhibit "D."

9. Right to Review:
This contract is subject to review by any Federal or State auditor. The County or its designee shall have the right to

review and monitor the financial and service components of this program by whatever means are deemed expedient by
the Contracting Officer. Such review may occur with or without notice, and may include, but is not limited to, on site
inspection by County agents or employees, inspection of all records or other materials which the County deems pertinent
to the Agreement and its performance, and any and all communications with or evaluations by service recipients under
this Agreement. The Contractor shall preserve and maintain all financial records and records relating to the performance
of work under this Agreement for 3 years after contract termination, and shall make them available for such review, within
Pierce County, State of Washington, upon request.

10. Modifications:
Either party may request changes in the Agreement. Any and all agreed modifications shall be in writing, signed by each
_ Of the parties.

11. Termination for Default:
If the Contractor defaults by falling to perform any of the obligations of the contract or becomes insolvent or is declared
bankrupt or commits any act of bankruptcy or insolvency or makes an assignment for the benefit of creditors, the County
may, by depositing written notice to the Contractor in the U.S. mail, postage prepaid, terminate the contract, and at the
County's option, obtain performance of the work elsewhere. If the contract is terminated for default, the Contractor shall
not be entitled to receive any further payments under the contract until all work called for has been fully performed. Any
extra cost or damage to the County resulting from such default(s) shall be deducted from any money due or coming due
to the Contractor. The Contractor shall bear any extra expenses incurred by the County in completing the work, including
all increased costs for completing the work, and all damage sustained, or which may be sustained by the County by
reason of such default.

lf a notice of termination for default has been issued and it is later determined for any reason that the Contractor was not
in default, the rights and obligations of the parties shall be the same as if the notice of termination had been issued
pursuant to the Termination for Public Convenience paragraph hereof.

12. Termination for Public Convenience: .
The County may terminate the contract in whole or in part whenever the County determines, in its sole discretion, that
such termination is in the interests of the County. Whenever the contract is terminated in accordance with this
paragraph, the Contractor shall be entitled to payment for actual work performed at unit contract prices for completed
items of work. An equitable adjustment in the contract price for partially completed items of work will be made, but such
adjustment shail not include provision for loss of anticipated profit on deleted or uncompleted work. Termination of this
contract by the County at any time during the term, whether for default or convenience, shall not constitute a breach of
contract by the County.

13. Defense & Indemnity Agreement:
The Contractor agrees to defend, indemnify and save harmless the County, its appointed and elected officers and
employees, from and against all loss or expense, including but not limited to judgments, settlements, attorney's fees and
costs by reason of any and all claims and demands upon the County, its elected or appointed officials or employees for
damages because of personal or bodily injury, including death at any time resulting therefrom, sustained by any person
or persons, and for damages to property including loss of use thereof, whether such injury to persons or damage to
property is due to the negligence of the Contractor, his/her Subcontractors, its successor or assigns, or its or their agent,
servants, or employees, the County, its appointed or elected officers, employees or their agents, except only such injury
or damage as shall have been occasioned by the sole negligence of the County, its appointed or elected officials or
employees. °

 

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The preceding paragraph is valid and enforceable only to the extent of the Contractor's negligence where the damages
arise out of services or work in connection with or collateral to, a contract or agreement relative to construction, alteration,
repair, addition to, subtraction from, improvement to, or maintenance of, any building, highway, road, railroad, excavation,
or other structure, project, development, or improvement attached to real estate, including moving and demolition in
connection therewith, a contract or agreement for architectural, landscape architectural, engineering, or land surveying
services, or a motor carrier transportation contract and where the damages are caused by or result from the concurrent
negligence of (i) the County or its agents or employees, and (ii) the Contractor or the Contractor's agents or employees.”

14. Insurance Requirements ‘
The insurance coverages specified In this paragraph (14.) are required unless modified by Attachment A of this
agreement. If insurance requirements are contained in Attachment A they take precedence

The Contractor shall, at the Contractor's own expense, maintain, with an insurance carrier authorized or eligible under
RCW Chapter 48.15 to do business in the State of Washington, with minimum coverage as outlined below, commercial
automobile liability insurance, and either commercial general liability insurance, or, if any services required by the
contract must be performed by persons authorized by the State of Washington, professional liability insurance: ,

Commercial Automobile Liability Bodily Injury Liability and Property Damage Liability Insurance
$1,000,000 each occurrence OR combined single limit coverage of
$2,000,000, with not greater than a $1000.00 deductible.

Commercial General Liability Bodily Injury Llability and Property Damage Liability Insurance
$1,000,000 each occurrence OR combined single limit coverage of
$2,000,000, with not greater than a $1000.00 deductible.

Professional Liability Insurance Shall include errors and omissions insurance providing $1,000,000.00
coverage for all liability which may be incurred during the life of this
contract.

Pierce County shall be named as an additional insured on all required policies except professional liability insurance, and
such insurance as is carried by the Contractor shall be primary over any insurance carried by Pierce County. The
Contractor shall provide a certificate of insurance to be approved by the County Risk Manager prior to contract execution,
which shall be attached to the contract.

Such insurance policies or related certificates of insurance shall name the Pierce County as an additional insured on all
general liability, automobile liability, and excess policies. The Contractor may comply with these insurance requirements
through a program of self insurance that meets or exceeds these minimum limits. The Contractor must provide Pierce
County with adequate documentation of self insurance prior to performing any work related to this contract and treat the
County as an insured under the indemnity agreement. Should the Contractor no longer benefit from a program of self-
insurance, the Contractor agrees to promptly obtain insurance as provided above. A forty-five (45) Calendar Day written
notice shall be given to prior to termination of or any material change to the policy(ies) as it relates to this Agreement.

Pierce County shall have no obligation to report occurrences unless a claim ig filed with the Pierce County Auditor; nor
shall Pierce County have an obligation to pay premiums.

In the event of nonrenewal or cancellation of or material change in the coverage required, thirty (30) days written notice
will be furnished by Contractor to Pierce County prior to the date of cancellation, change or nonrenewal, such notice to
be sent to the Pierce County Risk Manager, 955 Tacoma Ave South, Suite 303, Tacoma, WA 98402."

15. industrial Insurance Waiver
With respect to the performance of this Agreement and as to claims against the County, its officers, agents and
employees, the Contractor expressly waives its immunity under Title 51 of the Revised Code of Washington, the
Industrial Insurance Act, for injuries to its employees and agrees that the obligations to indemnify, defend and hold
harmless provided in this Agreement extend to any claim brought by or on behalf of any employee of the Contractor.
This waiver is mutually negotiated by the parties to this Agreement.

16. Venue and Choice of Law:
In the event that any litigation should arise concerning the construction or interpretation of any of the terms of this
Agreement, the venue of such action of litigation shall be in the courts of the State of Washington in and for the County of
Pierce. This Agreement shall be governed by the law of the State of Washington.

 

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17. Withholding Payment: 5
In the event the Contracting Officer determines that the Contractor has failed to perform any obligation under this

Agreement within the times set forth in this Agreement, then the County may withhold from amounts otherwise due and
payable to Contractor the amount determined by the County as necessary to cure the default, until the Contracting
Officer determines that such failure to perform has been cured. Withholding under this clause shall not be deemed a
breach entitling Contractor to termination or damages, provided that the County promptly gives notice in writing to the
Contractor of the nature of the default or failure to perform, and in no case more than 10 days after it determines to
withhold amounts otherwise due. A determination of the Contracting Officer set forth in a notice to the Contractor of the.
action required and /or the amount required to cure any alleged failure to perform shall be deemed conclusive, except to
the extent that the Contractor acts within the times and in strict accord with the provisions of the Disputes clause of this
Agreement. The County may act in accordance with any determination of the Contracting Officer which has become
conclusive under this clause, without prejudice to any other remedy under the Agreement, to take all or any of the
following actions: (1) cure any failure or default, (2) to pay any amount s0 required to be paid and to charge the same to
the account of the Contractor, (3) to set off any amount so paid or incurred from amounts due or to become due the
Conitractor., In the event the Contractor obtains relief upon a claim under the Disputes clause, no penalty or damages
shall accrue to Contractor by reason of good faith withholding by the County under this clause.

18. Future Non-Allocation of Funds:
Notwithstanding any other terms of this Agreement, if sufficient funds are not appropriated or allocated for payment under
this contract for any future fiscal period, the County will not be obligated to make payment for services or amounts after
the end of the fiscal period through which funds have been appropriated and allocated, unless authorized by county
ordinance. No penalty or expense shall accrue to the County in the event this provision applies.

19. Contractor Commitments, Warranties and Representations:
Any written commitment received from the Contractor concerning this Agreement shall be binding upon the Contractor,

unless otherwise specifically provided herein with reference to this paragraph. Failure of the Contractor to fulfill such a
commitment shall render the Contractor liable for damages to the County. A commitment includes, but is not limited to
any representation made prior to execution of this Agreement, whether or not incorporated elsewhere herein by
reference, as to performance of services or equipment, prices or options for future acquisition to remain in effect for a
fixed period, or warranties.

20. Patent/Copyright Infringement:
Contractor will defend and indemnify the County from any claimed action, cause or demand brought against the County,
to the extent such action is based on the claim that information supplied by the Contractor infringes any patent or
copyright. The Contractor will pay those costs and damages attributable to any such claims that are finally awarded
against the County in any action. Such defense and payments are conditioned upon the following:

a. That Contractor shall be notified prompily in writing by County of any notice of such claim.
b. Contractor shall have the right, hereunder, at its option and expense, to obtain for the County the right to continue
using the information, in the event such claim of infringement, is made, provided no reduction in performance or Joss

results to the County.
21, Disputes
a. General

Differences between the Contractor and the County, arising under and by virtue of the Contract Documents shall be
brought to the attention of the County at the earliest possible time in order that such matters may be settled or other
appropriate action promptly taken. Except for such objections as are made of record in the manner hereinafter
specified and within the time limits stated, the records, orders, rulings, instructions, and decisions of the Contracting
Officer, shall be final and conclusive.

b. Notice of Potential Claims
The Contractor shall not be entitled to additional compensation which otherwise may be payable, or to extension of
time for (1) any act or failure to act by the Contracting Officer or the County, or (2) the happening of any event or
occurrence, unless the Contractor has given the County a written Notice of Potential Claim within 10 days of the
commencement of the act, failure, or event giving rise to the claim, and before final payment by the County. The
written Notice of Potential Claim shall set forth the reasons for which the Contractor believes additional compensation
or extension of time is due, the nature of the cost involved, and insofar as possible, the amount of the potential claim.
Contractor shall keep full and complete daily records of the Work performed, labor and material used, and all costs
and additional time claimed to be additional.

 

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Contractor Name:_Transworld Systems, Inc. Contract No.

c. Detailed Claim
The Contractor shall not be entitled to claim any such additional compensation, or extension of time, unless within 30
days of the accomplishment of the portion of the work from which the claim arose, and before final payment by the
County, the Contractor has given the County a detailed written statement of each element of cost or other
compensation requested and of all elements of additional time required, and copies of any supporting documents
evidencing the amount or the extension of time claimed to be due.

22. Ownership of Items Produced
All writings, programs, data, public records or other materials prepared by the Contractor and/or its consultants or
subcontractors, in connection with the performance of this Agreement shall be the sole and absolute property of the
County.

23, Confidentiality: ,
The Contractor, its employees, subcontractors, and their employees shall maintain the confidentiality of all information
provided by the County or acquired by the Contractor in performance of this Agreement, except upon the prior written
consent of the Pierce County Prosecuting Attorney or an order entered by a court after having acquired jurisdiction over
the County. Contractor shall immediately give to the County notice of any judicial proceeding seeking disclosure of such
information, Contractor shall indemnify and hold harmless the County, its officials, agents or employees from all loss or
expense, including, but not limited to settlements, judgments, setoffs, attorneys' fees and costs resulting from
Contractor's breach of this provision.

24. Notice:
Except as set forth elsewhere in the Agreement, for all purposes under this Agreement, except service of process, notice
shail be given by the Contractor to the department head of the department for whom services are rendered, and to the
County Purchasing Agent, 615 S. 9th, Tacoma, WA 98405-4673. Notice to the Contractor for all purposes under this
Agreement shail be given to the address reflected below. Notice may be given by delivery or by depositing in the US
Mail, first class, postage prepaid.

25. Severability: . ;
If any term or condition of this contract or the application thereof to any person(s) or circumstances is held invalid, such
invalidity shall not affect other terms, conditions or applications which can be given effect without the invalid term,
condition or application. To this end, the terms and conditions of this contract are declared severable.

26. Waiver:
Waiver of any breach or condition of this contract shall not be deemed a waiver of any prior or subsequent breach. No

term or condition of this contract shall be held to be waived, modified or deleted except by an instrument, in writing,
signed by the parties hereto.

27. Waiver of Non Competition:
Contractor irrevocably waives any existing rights which it may have, by contract or otherwise, to require another person
or corporation to refrain from submitting a proposal to or performing work or providing supplies to Pierce County, and
Contractor further promises that it will not in the future, directly or indirectly, induce or solicit any person or corporation to
refrain from submitting a bid or proposal to or from performing work or providing supplies to Pierce County.

28. Survival: .
The provisions of paragraphs §, 7, 9, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 25, 26, and 28, and the provisions of
any non-collusion affidavit required by paragraph 4, shall survive, notwithstanding the termination or invalidity of this
Agreement for any reason.

29. Entire Agreement: This written contract represents the entire Agreement between the parties and supersedes any prior
oral statements, discussions or understandings between the parties.

30. Cooperative Purchasing. The Washington State Interlocal Cooperative Act RCW 39.34 provides that other governmental
agencies may purchase goods and services on this solicitation or contract in accordance with the terms and prices
indicated therein if all parties are willing. The Contract maximum for this contract per annual term, or for any renewal
period, is for Pierce County's use only, Other agencies may use this contract up to their contract limits, if any, exclusive
of and in addition to the County's contract maximum. By ordering and providing service under terms of this contract to
any other governmental agency or jurisdiction, the governmental agency and the Agency agree to indemnify, defend
and hold harmless Pierce County and District Court from any and all obligations, claims, or expenses, including
attomey’s fees, arising out of such action.

 

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Contractor Name: Transworld Systems, Inc. Contract No.
EXHIBIT "A"
(SCOPE OF WORK)

1. Account Maintenance

1.1. Referrals. The Court may refer judgments for unpaid infractions, traffic and non-traffic criminal cases, current and
legacy (open infraction and criminal cases) and other judgments payable to Pierce County. Cases with an
amount due of $10 or less will not be referred to the Contractor. Upon referral, the Contractor will collect
judgments referred and will first receive collection fees as they are collected, including interest, which are
imposed in the judgment docket and according the Revised Code of Washington State. The Contractor shall
have the collection fees set forth in section 2.1 added to judgments not so providing. Payment received directly
by the Court within ten (10) days after referral, which satisfies the judgment in full, will not be subject to any
collection fee.

The contractor will pursue all cases referred, including those having out-of- state addresses.

1.2. Acknowledgment of Referral. An acknowledgment report of cases referred by the Court will be prepared and
submitted daily to the Court. Separate reports will be generated for criminal, infraction and other cases.

1.3. Preparation and Maintenance of Database. At its own expense the Contractor will establish, input data, and

. maintain a database for the Court concerning each account referred, which will account for each judgment
including costs, interest, payments; and provide balances for judgment, interest, and collection fees. All balances
and payment history will be maintained and segregated according to casé number, The Contractor will at its own
expense prepare and maintain software for the Court to electronically transmit data to the Contractor for new
referrals, for recalls, for amendments to judgment imposed by the Court, for electronic transmission by the
Contractor to the Court for all changes to the database, for reports, and for transmission of funds required by this
Agreement. The electronic format of transmittal data will be determined by the Court.

1.4. Documentation of Contacts. All contact by the Contractor with the judgment debtor shall be documented.

1.5. Recall by Court, The Court may recall an account or reduce/amend the amount due on any case at any time.
Recalled accounts will not be subject to collection fees. Collection fees for reduced/amended accounts will be
based upon the reduced/amended balance.

1.8. Uncollectible Accounts, Uncollectible accounts shall be returned to the Court with a record of efforts to collect
and reasons why the account is deemed uncollectible.

1.7. Hold/Frozen /Suspense Accounts. Contractor shall place no account in a hold/frozen/suspended status without
notification to court

1.8. Collection Efforts.

1.8.1. Unless the Court determines that recall is required, the Contractor shail proceed with placement to an
attorney who has been approved by the Court's Prosecuting Attorney for non-payment by the defendant
after repeated contact attempts by the Contractor. Prior to proceeding with legal action, the Contractor
shall request approval, where non-exempt assets or income warrant under generally accepted industry
standard, on a case-by-case basis, from the Court. The Court will review the garnishment request and if
appropriate, grant approval to proceed with the garnishment action. The minimum contact shall be either:
(1) mail to the last known address or telephone call with the defendant; or (2) in person.

1.8.2. The Court shall approve verbiage in standard correspondence and telephone scripts of the Contractor.
Representatives of the Contractor shall at all times conduct themselves in accordance with applicable laws
and regulations. Contractor shall, at its own cost, implement and retain a Compliance Program for
consumer complaints. Contractor shall outline to the Court, the components of such program for Court
approval. Upon Court's request, Contractor shall provide a report on compliance standards every six (6)
months.

1.8. Adjudication of FTAs. The Court will adjudicate with the Department of Licensing any Failure to Appear (FTA)

 

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Contractor Name: Transworld Systems, Inc. . Contract No.

upon payment in full.of the Court account or upon execution of payment agreement between Contractor and
Defendant. The Contractor shall inform the judgment debtor, when an account is paid in full or a payment
agreement is entered into, that they may contact the Court in person, by phone or online for adjudication.

1.10. Reduction Policies. The Contractor shall inform judgment debtors how they may learn about reduction polices:
which have been adopted by the Court. Judgment debtors under judgments which include penalties for
mandatory insurance offenses shall be informed of the Court's applicable reduction policies.

1.11.Error Correction. The Contractor shall notify the Court within one (1) judicial business day of discovery of any
errors or problems with respect to (1) collection notices and other collection efforts made upon the judgments
referred by the Court, and (2) the information contained in the computer databases maintained by the Contractor.
The Contractor shall correct all such errors and problems within 72 hours unless mutual agreement provides a
different time.

1.12.Verification of Records. Not more frequently than every six months, the Contractor will, upon request by the
Court, run a comparison of the account records of the Contractor with data provided by the Court from its
computer system. The Contractor will verify the integrity and consistency of account information and will report to
the Court in a format authorized by the Court any discrepancies and suggested corrections, at its expense. The
Contractor will also provide the programming expertise and human resources required to implement
synchronization of the records to correct data.

2. Fees and Costs

2.1. Callection Fees. Uniform collection fees of 15.25% will be applied to all categories of accounts. However, in the
event the Contractor forwards a judgment to an approved attorney the collection fee the Contractor is entitled to
will be thirty percent (30%). Contractor may request adjustments to the collection fee that are reasonable and
provide for an equitable profit margin. The reasonableness of the collection fees will be determined by
comparison with rates assessed to other court accounts via existing contracts and in compliance with state and
federal law. |f an adjustment is requested, the Contractor is required to submit a specific and separate quote for
the Contractor fee for the Court's review prior to implementation. Any change in rates must be pre-approved by
the court by written amendment to this Agreement.

2.2. Interest. For all accounts other than pre-collection accounts placed with Contractor, interest shall accrue at the
statutory rate on judgments and shall be charged pursuant to statutory authority on accounts as provided by law.
The Contractor shall maintain electronic records of all transactions affecting interest and the balance of accrued
interest, and shall provide those records to the Court upon request and upon recall, in addition to required
reports. Interest shall be charged on accounts from the date of referral pursuant to statutory authority. The Court
shall receive ail interest collected.

2.3. Pre-Collection Letter. - The Contractor shall assume the expense for the 30-day pre-collection letter, including .
postage, envelopes, stuffing, paper, preprinted form, etc. This letter shall be compatible with existing computer
generated data of the Court.

2.4. Annual Mailing. The Contractor will at its own expense mail one special purpose letter per year to each judgment
debtor if requested by the Court, in addition to any other letters required by this Agreement.

2.5, Electronic Transmission & Access. The Contractor will provide, at its own expense, through networking in a
format acceptable to the Court, immediate and direct access by Court personnel to account activity and status on
the Contractor's system on all referred accounts. ,

3. Pre-Collection

The Contractor shall produce and mail a pre-collection letter meeting any applicable legal requirements informing
the judgment debtor that the judgment will be referred to the Contractor for collection on the 30th day after
mailing of the letter, and if the judgrnent is not paid in full, that the judgment will bear interest thereafter at the
rate set forth in the letter, and that collection fees payable under agreements between the Court and collectors
will be added to the judgment. Text of pre-collection letters shall be approved by the Court. These accounts will
be referred to the Contractor with a pre-collect status code. The Contractor shall assume the expense for the 30-
day pre-collection letter, including postage, envelopes, stuffi mB paper, preprinted form, etc. This letter shall be
compatible with computer generated data of the Court.

 

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Contractor Name:_Transworld Systems, Inc. Contract No.

a. If the account referred has previously accrued interest while in a collection status with another vendor, the
Contractor shall, in lieu of a pre-collection letter, send a notice to the judgment debtor which recites the
transfer of judgment to the Contractor for collection, and sets forth the balances of principal and interest
already due, together with a recitation of any provisions of the judgment which add a collection fee.

b. To the extent practicable, aggregate into a single pre-collection letter all obligations owed by a judgment
debtor.

c. Return to the Court all pre-collection letters and responses where the response indicates that the addressee
disputes the facts stated in the pre-collection letter.

d. Utilize the address service of the United States Post Office on all pre-collection letter mailings. The Court
shall be notified of any addresses reported through this service.

e. Use generally accepted industry standards to locate debtors, including but not limited to skip-tracing, credit
bureau notification, national database address searches, and post and base locator services for military
personnel, °
4. Payments

4.1, Application of Payments-Normal. All payments received will be first applied to taxable costs added by the Court
through legal collection action, provided that no taxable costs will be added to judgments which are not satisfied
by the execution, garnishment, attachment or supplemental proceeding concerning which the costs were
incurred. The net proceeds, after deduction of any such taxable costs, will be divided between the Court and the
Contractor. The amounts received by the Contractor hereunder shall be the Contractor's sole compensation, and
shall not be disbursed to the Contractor for its benefit until the amounts due the Court have been remitted to the
Court with instructions showing the allocation thereof to interest and/or principal on the judgment, and showing
the complete payment received and portions to be retained by the Contractor. The Court's share of all payments
received by the Contractor shail be applied first to interest, then to principal.

In each of the following examples the Contractor fee pursuant to paragraph 2.1 is 15.25%, other than Example 3
where the fee is 30%.

Example 1:
If payment of $100.00 is received on 6/1/2018 on a judgment of $670, entered 1/1/2018 and referred to collection
on 4/1/2018 following a 30 day letter, applications would be as follows:

 

 

 

 

 

 

 

 

 

 

 

Payment | interest | Judgment | - Fee Balance interest
Revd. By | Payable | Payable to | Payable to on Balance on
Contractor |_ to Court Court Contractor | Judgment | Judgment
$100.00 $13.44 $71.31 $15.25 $598.69 0
Example 2: ,
If a subsequent payment of $10 is received on the same judgment on 8/1/2018, application would be as follows:
Payment | Interest | Judgment Fee Balance Interest
Revd. By | Payable | Payable to | Payable to on Balance on
Contractor | To Court Court Contractor | Judgment | Judgment
$10 $8.47 $0 $1.53 $598.69 $3.53

 

 

 

 

 

 

 

Example 3 - Legal Action Account Fee (30%):

If a subsequent payment of $500 is received on the same judgment on 10/2/2018, as a result of Contractor
placing such judgment with a law firm and such law firm securing a garnishment judgment entered on 10/2/2018,

application would be as follows:

 

 

Interest

 

 

 

 

Payment Judgment Fee Balance Interest
Revd. By | Payable | Payable Payable on Balance
Contractor to to to Judgment On

 

 

 

 

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Contractor Name: Transworld Systems, Inc. Contract No.

 

Court Court__| Contractor Judgment
$500 $15.73 | $112.37 | $154.90 | $486.32 $0

 

 

 

 

 

 

 

 

 

4.2. Application of Payments-Multiple Cases. Payments received from a judgment debtor who is a judgment debtor
on multiple judgments referred to the Contractor shall be applied to the oldest judgment first, absent express
written direction of the judgment debtor to the contrary. The Contractor agrees to apply payments received from
defendants having judgments from different courts participating in a protocol among District and Municipal Courts
of the State of Washington for relicensing adjudication of defendants, in accordance with the protocol, absent
binding directions from the defendant to the contrary.

4.3. Unidentified Cases. If funds are received by the Court with no case number and a case exists with the Court that
has not been referred to the Contractor, the Court may apply the funds to the non-Contractor case.

4.4. NSF Checks. The Contractor may request reimbursement for the portion of NSF checks received by the
Contractor in payment of judgment which have been remitted to the Court, The Court will refund to the
Contractor the portion of any unpaid NSF check remitted to the Court, which is $0 reported, within thirty (30) days
of receiving a completed request and will correct the Court records as specified, unless the Court, upon notice
and an opportunity for the Contractor to be heard, finds the repert erroneous, The Contractor will defend and
hold harmless the Court, its agents and employees from any claim, cost or expense, including attorney's fees,
incurred as a result of an inaccurate report and certification, or correction of records requested thereby. No
request under this paragraph shall be honored which is not submitted within 30 days after original receipt by the
Contractor of the NSF check. . .

4.5. Payment Methods. Contractor shall accept cash, check, money order and credit/debit card (Visa/MasterCard) as
methods of payments. Any costs for such services is the sole responsibility of the Contractor. Contractor shall, at
its own cost, establish and maintain a web-based payment system for use by defendants.

5. Remittances

5.1. Daily Transmittal to Court. The Contractor shall remit to the Court on the next business day all funds received
that apply to unpaid Court accounts, except that the Contractor need not remit the portion of payment necessary
to satisfy cost added to judgment by the Court incurred by the Contractor, and the collection fee, if any, to be
retained by the Contractor hereunder.

5.2. Reporting Requirements. The Contractor shall provide the Court with a repart to accompany the daily transmittal
which shall include the judgment debtor's name, case number, total amount paid, amount remitted to the Court,
the distribution of the payment between costs added to judgment by the Court incurred by the Contractor,
commission collected by the Contractor, judgment interest and judgment principal payable to the Court, principal
balance and interest balance. This report shall be sorted as determined by the Court and shall be in the form
and format determined by the Court. This report shall not include any adjustments, charge backs or corrections.
The maximum number of cases included in one transmittal from the Contractor to the Court shall be set by
mutual agreement.

5.3. Adjustments. Adjustments, charge backs or corrections authorized by this Agreement will be reported .
separately, and requests authorized must be in writing and accompanied by supporting documents. Contractor
shall notify the court of such adjustments initiated by the Contractor within two (2) business days of adjustment in
Contractor database, Adjustments, charge backs or corrections requested by the Court shall be processed
within ten (10) business days of original request. Except for amounts earned as provided herein by the
Contractor for judgments actually collected and paid to the Court, no payment shall be made nor any sum
withheld by the Contractor for any reason.

5.4. Monthly Time Payment Services and Fees. Contractor shall propose pricing for implementation of a monthly time
payment program for court clientele with outstanding fines that are not in collection status. The Court is under no
obligation participate in any such proposed program but may, at its sole discretion, invoke implementation of this
program with 60 days notice to the Contractor.

6. Reporting

 

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Contractor Name: Transworld Systems, Inc. Contract No.

6.1. The Contractor shall provide the Court with management reports on a regularly scheduled basis. The Contractor
shall develop and amend the format and information contained in reports at the request of the Court. The Court
may establish a schedule by which requested management reports will be provided on a regularly scheduled
basis.

6.2. The Contractor shall provide the Court with monthly reports, including but not limited to: (1) aged summary of
funds received, (2) outstanding accounts, (3) funds received by case by year, (4) other reports upon mutual
agreement. Criminal and infraction cases must be segregated; interest and principal payments must be reported
separately. The Contractor shall amend the format and information contained in reports at the request of the
Court. ,

7. Bankruptcy, Garnishments, Legal Suits

For ail accounts referred, the Court shalt have received a judgment in favor of the Court, and Contractor shall be
responsible for initiating court-approved legal action in any bankruptcy, and filing gamishments and supplemental
proceedings, and if necessary, approved on a case-by-case basis. The attorney selected to perform the legal work for
the Court through the Contractor must be approved in advance by the Court’s Prosecuting Attorney.

7.1. Bankruptcy. The Contractor shall process bankruptcy claims on behalf of the Court for those accounts listed with
them. The Contractor shall notify the Court of the claim by forwarding a copy of the Proof of Claim or the Notice
of Filing. The Contractor shail notify the Court upon receiving a letter of dismissal or discharge from the
bankruptcy court and forward a copy of each letter to the Court. Bankruptcy procedures may be modified at the
sole discretion of the Court and by written notification to the Contractor. ,

7.2. Garnishments. The Contractor shall attempt to garnish, after all collection efforts have been exhausted and with
the Court's prior written approval, to collect referred judgments. Amounts collected shall be applied as set forth in
paragraph 4. The Contractor shall be responsible for invoicing court costs associated with any legal proceeding
to the Court on a weekly basis for reimbursement of expended court costs by the Contractor. The Court reserves
the right to cancel or to remove any case from garnishment and collections activity without compensation of legal
fees upon judicial discretion.

8. Local Office %

8.1. Local Office. The Contractor shall maintain an official office within a five (5) mile radius of the County City
Building to facilitate the collection process for the judgment debtors and the Court. The Contractor will open the
local office immediately, and the office shall be fully functional not later than four (4) months after execution. The
Contractor may also be required to locate a maximum of two (2) staff in the County-City Building, at the courts’
discretion.

8.2. Local Phone. The Contractor shall maintain a local phone number in Pierce County or a toll free number to
facilitate the collection process for the defendants and the Court.

9. Auditing

8.1. Court Audit. The Contractor shall permit the Court, its designees, and any Contractor entitled or authorized to
audit Court records, from time to time as the auditor deems necessary (including up to 6 years after expiration of
the Agreement), to inspect and audit at any and all reasonable times in Pierce County, Washington, or at such
other reasonable location as the auditor selects, all pertinent books and records of the Contractor and any agent
or other person or entity that has performed work in connection with or related to the Contractor's services under
this Agreement to verify the accuracy of accounting records including trust accounts, the Contractor's
performance under this Agreement, or the Contractor's compliance with the terms and conditions of this
Agreement; and shall supply the auditor with, or shall permit the auditor to make copies of any books and records
and any portion thereof, upon the request of the auditor. The Contractor shall ensure that such inspection, audit
and copying rights hereunder are a condition of any subcontract, agreement or other arrangement under which
any other person or entity is permitted to perform work in connection with or related to the Contractor's services
under this Agreement. The Contractor shall submit to on-site performance audits by the Court or its designees
when desired by the Court without prior notice, either written or oral. Any exceptions will be remedied by the

 

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Contractor Name: Transworld Systems, Inc. Contract No,
Contractor within thirty (30) days from written notice to the Contractor by. the Court.

9.2. Outside Audit. At the Courts request, the Contractor shall contract with an independent financial accounting firm
to undertake 4 review of the Contractor's management of the Court's collection accounts. Such review will focus
on the Contractor's financial processing of the Court's accounts or a review of the Agencies compliance with this
Agreement, as directed by the Court. Findings and reports of this review shall be made available to the Court for
its review within sixty (60) days of the Court's request Any exceptions or findings shall be remedied by the
Contractor within thirty (30) days from the date of the finding, unless otherwise directed in writing by the Court.
The Contractor shall bear the expense of outside audits no more frequently than once each year.

10. Use of Agreement by Other. Jurisdictions

The Contractor agrees to provide services to other governmental agencies or jurisdictions which have entered into
iniergovernmental agreements with Pierce County under chapter 39.34 RCW upon the terms and conditions herein
set forth, substituting the governmental party for Pierce County and District Court the applicable name, party or
contract. By ordering and providing service under terms of this contract to any other governmental Contractor or
jurisdiction, the governmental Contractor and the Contractor agree to indemnify, defend and hold harmless Pierce
County and District Court from any and all obligations, claims, or expenses, including attorney's fees, arising out of
such action.

11. Actions Upon Termination.

Within twenty days of termination, the Contractor shall return to the Court all outstanding judgments, files, paper and
database required to be kept regarding each account referred to the Contractor, together with all relevant information
concerning the status of such judgments and/or persons obligated thereon, amounts of each type due thereunder
and payments made, and locations and information held by the Contractor which could help locate such persons,
together with all reports required as if all accounts had been recalled. “This obligation shall continue notwithstanding
any termination of this Agreement.

12. Lega! Changes.
Contractor agrees to remain abreast of changes in any laws affecting performance of this agreement, including those

referenced in paragraph 1.6. Contractor will notify and discuss with the Court any legal changes that may impact the
terms of performance set forth in this Exhibit A so the parties may determine mutually agreeable modifications, if any.

 

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Contractor Name: Transworld Systems Inc. * ContractNo._

 

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Contractor Name: Transworld Systems Inc. Contract No.

EXHIBIT "B”

(COMPENSATION)

The amounts identified as described in Exhibit A, section 4 shall be the Contractor's sale compensation, and shail not
be disbursed to the Contractor for its benefit until the amounts due the Court have been remitted to the Court with
instructions showing the allocation thereof to interest and/or principal on the judgment, and showing the complete
payment received and portions to be retained by the Contractor.

 

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" Contractor Name: Transworld Systems Inc. Contract No,
EXHIBIT “GC”
CONTRACT COMPLIANCE for PROFESSIONAL, TEGHNIGAL, SUPPLY OR SERVICES
Revised 3/10

it is the policy of Pierce County to foster an environment that encourages economic growth and diversification,
business development and retention, increases competition and reduces unemployment. In support of that policy,
Pierce County reaffirms its commitment to maximize opportunities in public contracting for ail contractors including
minority and women owned business enterprises.

Bidders are encouraged to utilize qualified, local businesses in Pierce County and Washington State where cost
effectiveness is deemed competitive. In addition, Bidders are encouraged to subcontract with firms certified by the
Washington State Office of Minority and Women’s Business Enterprises (MWBE).

A. MWBE DIRECTORY ASSISTANCE - ‘
A directory of MWBE firms is published quarterly by the Washington State Office of Minority and Women's Business
Enterprises (OMWBE). Copies of the directory are available from the State OMWBE (360-753-9693) or may be
viewed at the Public Works Department, 2702 S 42™ St Suite 201, Tacoma 98409, and the Tacoma Public Library,
1102 Tacoma Avenue South, Tacoma, 98402. Contaci the Contract Compliance Office for additional information at
(253) 798-7250,

B, EQUAL EMPLOYMENT OPPORTUNITY:
1. Upon execution of this contract, the Contractor shail comply with the Equal Employment Opportunity

requirements set forth below. The Contractor shall not violate any of the terms of Chapter 49.60 of the Revised
Code of Washington, Title Vil of the Civil Rights Act of 1964, or any other applicable federal, state, or local law
or regulation regarding nondiscrimination.

2. No person or firm employed by the Contractor shall be subject to retaliation for opposing any practice made
unlawful by Title Vil of the Civil Rights Act, the Age Discrimination in Employment Act (29 U.S.C. 621 et seq.),
the Equal Pay Act (29 U.S.C, 206(d), the Rehabilitation Act (28 U.S.C. 791 et seq.}, the Americans with
Disabilities Act of 1990, or for participating in any stage of administrative or judicial proceedings under those
statutes.

3. The Contractor shail take all reasonable steps to ensure that qualified applicants and employees shail have an
equal opportunity to compete for advertised or in-house positions for employment. Applicants and employees
shall be treated fairly without regard to race, color, religion, sex, aga, disability, or national origin. Equitable
treatment shall include, but not be limited to employment, upgrading or promotion, rates of pay increases or
other forms of compensation, and selection for training or enrollment in apprenticeship programs.

CG. CERTIFICATION OF NONSEGREGATED FAGILITIES
The Contractor shall submit with its proposal a Certification of Nonsegregated Facilities. All requests to sublet or
assign any portion of this contract, at any level, shall be accompanied by evidence of this certification in all
subcontract agreements.

D, E-VERIFY DECLARATION
Pierce County requires that all businesses which contract with the County for contracts in excess of $25,000 and of
duration longer than 120 days, and are not specifically exempted by PCC 2.106.022, be enrolled in the Federal E-
verify Program. The requirement extends to every subcontractor meeting the same criteria. The Prime Contractor
must provide certification of enrollment in the Federal E-verify program to the County. The Prime Contractor will
remain enrolled in the program for the duration of the contract. The Prime Contractor is responsible for verification
of every applicable subcontractor. The County reserves the right to require a copy of the Memorandum of
Understanding between the Prime or any Subcontractor and the Department of Homeland Security upon request at
any time during the term of the contract. Failure to provide this document could result in suspension of the project.

A copy of Ordinance 2009-74 is on the Purchasing Department's website located at
www.co. pierce. wa_us/clapps/edocs/viewdocuments.cim?did=95668&dnum .

The Federal E-Verify Program is a web based application and can be accessed at www.dhs.gov/everify .

E. SUBMITTAL REQUIREMENTS

1. Certificate of non-segregated facilities: Contractor shall submit with proposal, each subcontractor shall submit
when work is sublet.

2. Professional and Technical Workforce Data Form: Contractor is encouraged to submit with proposal, each
Subcontractor is encouraged to submit the form when work is sublet.

3, Subcontractors Participation Form: Check the appropriate box indicating the firm who will perform the work of _
the contract. Submit the completed form with the proposal documents.

4, E-Verify Declaration: Contractor shail submit with proposal.

 

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Contractor Name: Transworld Systems Inc. Contract No.
CERTIFICATION OF NONSEGREGATED FACILITIES

The contractor certifies that no segregated facilities are maintained and will not be maintained during the
execution of this contract at any of contractor's establishments.

The contractor further certifies that none of the contractor's employees are permitted to perform their services at
any location under the contractor's control during the life of this contract where segregated facilities are maintained. The
contractor certifies further that he will not maintain or provide for his employees any segregated facilities at any of his
establishments, and that he will not permit his employees to perform their services at any location, under his control,
where segregated facilities are maintained.

The contractor agrees that a breach of this certification is a violation of the Equal Opportunity clause in this
contract. As used in this certification, the term "segregated facilities" means any waiting rooms, work area, rest rooms
and wash rooms, restaurants and other eating areas, time clocks, locker rooms and other storage or dressing areas,
parking lots, drinking fountains, recreation or entertainment areas, transportation, and housing facilities provided for
employees which are segregated by explicit directive or are in fact segregated on the basis of race, crsed, color or
national origin, because of habit, local custom, or otherwise.

The contractor agrees that identical certifications from proposed contractors will be obtained prior to the award of
any subcontracts. Contractor will retain a copy of any subcontractor's. certification and will send original to Contract
Compliance Division.

NON-COLLUSION & DEBARMENT AFFIDAVIT

State of Washington, County of Pierce
As an authorized representative of the firm of Transworld Systems Inc. , | do heraby certify that

said person(s), firm, association or corporation has (have) not, either directly or indirectly, entered into any agreement,
participated in any collusion, or otherwise taken any action in restraint of free competitive bidding in connection with the
project for which this proposal is submitted. °

{ further certify thal, except as noted below, the firm, association or corporation or any person in a controlling
capacity associated therewith or any position involving the administration of federal funds; is not currently under
suspension, debarment, voluntary exclusion, or determination of eligibility by any federal agency; has not been
suspended, debarred, voluntarily excluded or determined ineligible by any federal agancy within the past 3 years; does
not have a proposed debarment pending; and has not been indicted, convicted or had a civil judgment rendered against
said person, firm, association or corporation by a court of competent jurisdiction In any matter involving fraud or official
misconduct within the past 3 years.

| further acknowledge that by signing the signature page of the proposal, | am deemed to have signed and have
agreed to the provisions of this affidavit.

Note: Exceptions will not necessarily result In denial of award, but will be considered in determining bidder
responsibility. For any exception noted, indicate above to whom it applies, initiating agency, and dates of action.
Providing false information may result in criminal prosecution or administrative sanctions.

“A suspending or debarring official may grant an exception permitting a debarred, suspended, or
excluded person to participate in a particular transaction upon a written determination by such official
stating the reason(s) for deviating from the Presidential policy established by Executive Order 12549..."
(49CFR Part 29 Section 29,215)

The undersigned hereby agrees to pay labor not less than the prevailing rates of wages in accordance with the
requirements of the special Ohad for this project.

DATE: July 19, 2018

TITLE: Nate ae Shea UE

 

 

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Contractor Name: Transworld Systems Inc.

Contract No.

SUBCONTRACTORS PARTICIPATION FORM FOR PROFESSIONAL, TECHNICAL, SUPPLY OR SERVICE PSAS

Check appropriate statement? below:

~ Our firm will perform all contracted scope of work tasks.

[-] Our firm will subcontract a portion of the work tasks, The following firms were contacted and will be utilized in the

- performance of the work as indicated below.

List ail potential subcontracting firms. Do not mark “N/A” unless the Bidder will perform all work or provide all supplies or

services for this contract.

 

Firm Name/Address/Phone dt Work item(s) Solicited

Proposal
Amount

Awarded?
{yes/no}

 

N/A

 

 

 

 

 

 

 

 

 

4. List full name, address, and phone number of each firm listed to be utilized,

2. List specific work to be accomplished, supplies to be furnished and the amount proposed for each subcontract.

3. Contact the Pierce County Contract Compliance Officer at (253) 798-7250 if you have questions.

 

 

BY; ally Qu Foy DATE: ] f g ii oj
qe CHPAE pHone: 92 - (627-805

Revised (6/98)

 

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Contractor Name: Transworld Systems Inc. Contract No.
PERSONNEL WORKFORCE DATA FORM

FIRMNAME _ Transworld Systems Inc. — Including TS! US, TS! Puerto Rico and University Accounting Services
ADDRESS _ 500 Virginia Drive, Sulle 514

CITY, STATE, ZIP _ Fort Washington, Pennsylvania 19034

PHONE — 800-391-8019

PROJECT _ Collection Services, Plerce County .

PROJECT #

 

CONTRACT WORK HOURS (if applicable) _N/A_

TYPE OF SERVICE PROVIDED Collection Services .

CONTRACTORS AGGREGATE WORK FORCE ~ if you need additional space, photo copy this section and altach it to this form.

 

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TOTAL TOTAL NATIVE listed or Nat.

OCCUPATION EMPLOYED MINORITY. _AMERCIAN ASIAN BLACK HISPANIC HWiPac.lst.

 

 

 

 

 

 

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Contractor Name: Transworld Systems Inc. , . Contract No.
, EXHIBIT D
SPECIAL PROVISIONS

 

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— APPENDIX 3—
Q

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E-FILED -

2 . IN COUNTY CLERK'S OFFICE
Pierce County PIERCE COUNTY, WASHINGTON
orn ese cn BD PEE
930 Tacoma Avenue South, Room 110 Director of Arbitration
Tacoma, Washington 98402-2177 ae HANS gale
(253) 798-7455 * FAX (253) 798-3428 COUNTY CLERK
EDDIE LEE LEMMON
12915 47TH AVE SW #8

LAKEWOOD, WA 98499

December 1, 2010
NOTICE
Case No,: 10-1-00961-4
Judgment Date: October 8, 2010
Judgment Amount : $900.00
Outstanding Balance: $900.00

Dear Sir/Madam,

The approval of ESSB 5990 has give the Superior Court Clerk's Office the responsibility of
collecting Legal Financial Obligations (LFO's). As a condition of the Judgment and Sentence in
this matter the Pierce County Superior Court permitted you to make payments on your LFO's for
court costs, fines and/or restitution.

According to our records you have failed to comply with this condition of your Judgment
—- and Sentence and are now delinquent on your LFO payments.

 

According to our records you have made monthly payments and are in compliance with
em, YOur Judgment and Sentence. However, it is now necessary for you to make new
payment arrangements with the Clerk's Office.

Within 30 days from the date of this notice you must pay the outstanding balance due or
make new arrangements for payment with this office. If you do not respond to this notice
within the 30 days we will turn this case over to our Commercial Collection Agent. As of
that time you will be required to deal ONLY with the collection agent regarding payments.

This notice is a one time courtesy that is being extended by the Superior Court Clerk's Office in
an effort to assist you in meeting your Court ordered obligations. For the collection of unpaid
legal financial obligations, the clerk may impose an annual fee, pursuant to RCW 9.94A.780.

Sincerely,
KEVIN STOCK
Clerk of the Superior Court

By JL
Collections Division
(253) 798-6368
